     ,     .           Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 1 of 90
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-;




AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Eastern District of Arkansas

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                                                 SUMMONS IN A CML ACTION

To: (Defendant's name and address)          A-JYi.re,,uJ ~A-fA-f & m       1
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          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of


whose name and address are:            ~Ae. l{,;J,.. I
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
         ---------                                                                 Signature of Clerk or Deputy Clerk
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          •

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           a    I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           a    I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
         ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name ofindividual)                                                                       , who is
              designated by law to accept service of process on behalf of (name oforganization)
                                                                                 _on (date)                           ; or
         ------------------------                                                             ----------
           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are$                            for travel and $                   for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                              Server's signature



                                                                                          Printed name and title




                                                                                              Server's address


 Additional information regarding attempted service, etc:
,.            Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 3 of 90




                                 SOCIAL SECURITY ADMINISTRATION
                                    COMPLAINT OF DISCRIMINATION
                                      Bases: Sex, Race, and Disability

                                        Complainant: Sherril Artis
                                        Agency No.: SEA-14-0434
                                       EEOC No.: 551-2016-00168X



                                                         Date:'. August 11, 2021

     This notice informs you of your right to appeal the Administrative Judge's decision and the
     Social Security Administration's (SSA's) final order in your discrimination complaint.

     Within 30 days of your receipt of SSA's final order, you have the right to file an appeal with the
     Equal Employment Opportunity Commission (EEOC). You should use the enclosed EEOC
     Form 573, Notice of Appeal/Petition to do so, and you should indicate what you are appealing.
     You may file an appeal by mailing the appeal to:

            Equal Employment Opportunity Commission
            Office of Federal Operations
            P.O. Box 77960
            Washington, DC 20013

            or by delivering the appeal to:

            Equal Employment Opportunity Commission
            Office ofFederal Operations
            131 M Street, NE
            Suite 5SW12G
            Washington, DC 20507-0100

     Appeals ofless than ten (10) pages may also be faxed to (202) 663-7022.

     A copy of your appeal must be provided to SSA when you file your appeal with EEOC.

     Send a copy of your appeal to:

            EEO Director
            Office of Civil Rights and Equal Opportunity
            Social Security Administration
            P.O. Box 17712
            Baltimore, Maryland 21235-7712

             or deliver it to:
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                               SOCIAL SECURITY
                                        August 11, 2021


VIA ELECTRONIC MAIL
Mr. Moloy Good, Esq.
211 E 11th Street, #104
Vancouver, WA 98660
Moloy@goodlawclinic.com

RE:    Sheril Artis/SEA-14-0434-SSA
Filed: July 30, 2014

This letter contains the Social Security Administration (SSA's) final order in the discrimination
complaint referenced above filed by Sheril Artis (Complainant), whom you represent.

After receiving the complaint file, Complainant requested a hearing before an Equal
Employment Opportunity Commission Administrative Judge (EEOC AJ). On June 4, 2021, and
July 22, 2021, we received the EEOC AJ' s decisions, dated June 4, 2021 and July 22, 2021, in
favor of the Complainant. We are forwarding a copy of the EEOC AJ's decisions to you and
Complainant for review and consideration. The EEOC AJ concluded that the facts in the case
establish that the Agency subjected Complainant to a hostile work environment based on race,
age and disability.

                             IMPLEMENTATION STATEMENT

I have reviewed and considered the evidence ofrecord and adopt the EEOC AJ's decision
without modification. Accordingly, SSA hereby fully implements the decision.

                                  STATEMENT OF RELIEF

Complainant has prevailed on her claim of discrimination based on race, sex and disability.
Accordingly, SSA will take the following actions:

    1. The Agency shall pay Complainant $100,000 in compensatory damages.
    2. The Agency shall conduct EEO training for managers, supervisors and human resources
       personnel in the Vancouver and Portland offices, to ensure they become aware, and
       continue to be aware of their obligations, responsibilities; and rights under EEO law,
       including the right to work in an environment free from discrimination and harassment
       based on race, age, and disability. This training shall not be less than 90 minutes long,
       and shall take place within six months of the implementation of this decision.
    3. The Agency shall post within the Vancouver Field office a copy of a notice, sufficient
       under EEOC standards, advising employees of this finding of discrimination. This notice
       should be signed by a duly authorized Agency representative and should be posted
       immediately upon the Agency's issuance of the Agency's final order. The notice should

                SOCIAL SECURITY ADMINISTRATION            BALTIMORE MD 21235-0001
        Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 5 of 90




      be maintained for a period of at least 90 days iQ. conspicuous places where the Agency
      customarily posts notices that it expects its employees and applicants for employment to
      see. The Agency should take all reasonable steps to ensure that the notices are not
      altered, defaced, or covered by any other material. The notices should advise employees
      and applicants of their rights to be free of°employment discrimination, and their EEO
      remedies.
   4. The Agency shall pay Complainant's counsel, Moloy Good, the total amount of
      $32,739.32 in attorney's fees.

                                        FINAL ORDER

It is the final order of SSA that Complainant established the Agency subjected her to
discrimination on the bases alleged, as set forth in the Administrative Judge's decision.
The enclosed notice explains your/Complainant's right to appeal the AJ's Decision and/or the
Agency's final order. Complainant should use the enclosed EEOC Form 573, Notice of
Appeal/Petition, if Complainant chooses to file an appeal.


                                              Sincerely,

                                                    /)




                                               Jiz~
                                             (for) Claudia Postell
                                             Equal Employment Opportunity Director
                                             Office of Civil Rights and Equal Opportunity


Enclosures:
AJ's Decision
EEOC Form 573

cc:
Molly B. Powell
Sherril Artis
Ryan Lu
Joseph Langkamer
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               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION




•
                                Seattle Field Office
                                                                                      Federal Office Building
                                                                                  909 First Avenue, Sui~ 400
                                                                                    Seattle, WA 98104-,061
                                                                          Seattle Direct Dial: (206) 576-3000
                                                                                         FAX (206) 220-6911
                                                                                     Website: www.eeoc gov
Sherril Artis,                                   ) EEOC No. 551-2016-00168X
         Complainant,                            ) Agency No. SEA-14-0434-SSA
                                                 )
                                  v.             )
Andrew Saul,                                     )
Commissioner,                                    )
Social Security Administration,                  )     DECISION AFTER HEARING BY
         Agency.                                 )     ADMINISTRATIVE ruDGE
                                                 )
                                                 )
                                                 )    Date: June 4, 2021
                                                 )
----------------)

I.      STATEMENT OF THE CASE

        Pursuant to 29 C.F.R. § 1614.109, on March 23, 2021, I held a hearing electronically via

Microsoft Teams, on the discrimination complaint filed by Ms. Sherril Artis ("Artis" or

"Complainant'') against Andrew Saul, the Commissioner of the Social Security Administration

("SSA" or "Agency''). I issued a Decision on April 20, 2021, fmding that the Agency subjected

Complainant to a hostile work environment on the basi~ of ra~e, age and disability.

        On June 3, 2021, I held a hearing regarding damages. During the hearing, Complainant

presented evidence related to damages. Complainant Artis and her spouse Lloyd Artis testified.

Complainant also provided designated hearing testimony from Lisa Demoreno, April Sandstrom

and Imelda Incardona in support of her request for damages. This is a decision by a U.S. Equal

Employment Opportunity Commission ("EEOC" or "Commission") Administrative Judge issued

pursuant to 29 C.F.R. § 1614.109(i).

        Complainant is seeking: backpay for five years (the years she would have continued to

work had she not been subjected to harassment) and backpay for three years as a rehired
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       ~350 West High Rise Building

COVID-19 Information on Filing Appeals:

If Complainant plans to file an appeal with the EEOC, please note that EEOC may be unable to
docket and adjudicate Complainant's appeal at this time if Complainant files the appeal on paper.
Because paper submissions will likely not be received by EEOC for the foreseeable future, the
Commission has advised using its electronic portal for new cases, by all parties. The EEOC
Public Portal address and instructions are provided below.

Also, please be advised that Complainant should forward a copy of the appeal to the agency.
Please use the following mailbox: "DCHR OCREO Hearings and Appeals Mailbox:
DCHR.OCREO.Hearings.and.Appeals.Mailbox@ssa.gov.

Complainants Now Have the Ability to File Online. The EEOC Public Portal is a secure, web-
based application that allows individuals with discrimination complaints against the government
to electronically request a hearing before an EEOC AJ. To me your hearing request using the
Public Portal:

           •   Create an account.
           •   Request a hearing on the merits of your complaint before an EEOC AJ.
           •   Identify a representative and provide their contact information.
           •   Submit and receive documents supporting the hearing request.

You also have the right to me a civil action in an appropriate U.S. District Court: -

       (a) Within 90 days ofreceipt of the agency final action on an individual or class
           complaint;

       (b) After 180 days from the date of filing an individual or class complaint if agency final
           action has not been taken;

       (c) Within 90 days ofreceipt of the Commission's final decision on an appeal; or

       (d) After 180 days from the date of filing an appeal with the Commission if there has
           been no final decision by the Commission.

       (e) After filing an appeal with the Commission from an agency final action, the
       complainant, class agent, or class claimant may withdraw the appeal and file a civil
       action within 90 days ofreceipt of the agency final action. If the complainant, class agent,
       or class claimant files an appeal with the Commission from a final agency action and
       more than 90 days have passed since receipt of the agency final action, the appellant may
       file a civil action only in accordance with paragraph (c) or (d) of this section.

If you decide to file a civil action and you do not have or cannot afford the services of an
attorney, you may request that the Court appoint an attorney to represent you .. You may also ask
that the Court permit you to file the action without payment of costs, fees, or other security.
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Granting or denying your request is within tbe sole discretion of the Court. Both the
request and the civil action MUST BE FILED WITIIIN NJNETY (90) CALENDAR DAYS of
the date you receive the final order or final decision from SSA or the EEOC's final decision.
Filing a request for an attorney does not extend your time in which to file a civil action.

If you decide to me a civil action, you must name the Acting Commissioner of SSA as the
defendant. Failure to name the Acting Commissioner may result in dismissal of your case.
If you file a civil action, administrative processing of your complaint will end.
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    Sherril Artis v. Andrew Saul, Commissioner, Social Security
    Administration

    EEOC No. 551-2016-00168X

    Agency No. SEA-14-0434-SSA

    November 10, 2021

    Sherril Artis, 5908 Willow Way, North Little Rock Arkansas72117 v.
    Andrew Saul, Commissioner, Social Security Administration.



    I, Sherril Artis, invoke federal jurisdiction after a final order has been

    declared by the Social Security Administration on the damages that the

    agency caused in their guilt in violating my civil rights due to my age, my

    race, and my disability.U.S.C. 42 U.S.C. 1983 or 28 U.S.C. 1343. The

    United States District Eastern District Court of Arkansas is the proper

    venue for this case.


    May 10, 2013 email to Acting Commissioner, Carolyn Colvin. I outlined

    some of the unsettling tactic that managers were using to intimidate

    and harass staff. Commissioner check my prior EEO contacts. I pointed

    that I had been forced to withdraw my complaint by EEO and that the

    agency had not been timely in granting accommodations. EEO forced

    my withdrawal so that the two discriminating mangers could be
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    promoted. Karen Jesser and Terry Temple. After the transfer was

    granted, EEO ramped up the pressure for me to withdraw. Their

    reasoning was that I had gotten away from the other office and that I

    should pursue getting back into management "leadership image". This

    can be easily verified through agency records. Attached is also the final

    letter to retiring Area Director, Beth Hiciano. I could have ignored all of

    these things, if they would just let me be promoted. I believe this

    behavior is collusion and should be outlawed.




    January 14, 2014 email to Seattle Assistant Regional Commissioner,

    Alan Heim. Chris Detzler had refused to accommodate me with a

    workload that was more focused , more self-directed, and more self-

    controlled. Chris granted permission for me to speak to Alan Heim.

    Alan had once thought highly of me and my ability to meet deadlines.

    He called me to mentor a young Chris Detzler. Chris had been

    promoted to MSS and Alan said I was one of the best MSS' sin the area.

    I was promoted to Assistant Manager in Beaverton and could not

    mentor Chris. Alan Heim expressed his disappointed that I would not
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    be able to mentor. Alan later called me and offered me the Manager's

    position in Longview Washington. Under Alan Heim's as the Area

    Director, I received many accolades. Including a regional

    Commissioner's Citation and numerous performance awards and

    request to assist. Finally, Alan accommodated me with a downgrade to

    care for my mother and to address my health issues.


    I was seeking an opportunity to see how my mental and physical health

    would respond without harassment. Social Security managers had

    harassed me since 2009. I wanted to present to Alan or Steve Hughes a

    planned high profiled workload for me to tackle, like fraud. See

    attached email to Shane Winder of OIG dated December 11, 2013.

    Alan focused totally on my health, which was not needed, and it was a

    distraction from the harassment that I was experiencing. Alan said that

    he would have a Gail Leon to contact me. I never heard from her until I

    saw her retirement announcement.


    July 2, 2014, I again emailed Alan Heim. The harassment and hostility

    were so degrading. I told him about the harassment. I begged him to

    help me. I asked him to make Chris and Amy stop with the belittling, the
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    put downs and the name calling. I was being denied lunches, breaks,

    and bathroom privileges. I could not control my blood sugars without

    food. I was wetting my pants. Amy refused to allow me to attend a

    once monthly lung class to teach me how to protect my damaged lungs.

    I had sarcoidosis. She would not clear my schedule for that one day

    lung class. She told me I need to do the work or trade with someone. It

    was the cruelest thing I had ever experienced. I needed help. Alan

    offered no assistance. I begged! I told him I would drop the EEO, if he

    would just make it stop.


    July 2014, Email to Alan Heim. After the terrifying meeting with Chris

    and Amy in May 2014. I decided to contact the prior office, where Amy

    had worked. I had trained in that office when I was promoted into

    management, and I knew the staff Amy told me that she was a

    woman of integrity, unlike myself, whose life had been riddled with

    strife. Her statement made me wonder, if I was really a problem or did

    she think so lowly of me because I was black! When Amy Throop was

    moving into management, Terry Temple and Karen Jesser tasked me

    with overseeing several of Amy's operations. I worked remotely

    because I was in Portland and Amy was in The Dalles. I processed her
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    timekeeping/payroll, worked her overpayments, worked her windfall

    offsets, trained her SSI staff. All, while maintaining a full workload in my

    own office! With Amy's proven discrimination in the Dalles-How was

    Amy was allowed to transfer to Vancouver? The agency grossly

    neglected my health, my rights to reasonable accommodations, and my

    right to my career to protect Amy Throop! Amy was unstable and she

    was frightening. Amy was aware of my prior filing with EEO. Amy and

    I had worked in the same district. The harassment and retaliation that

    Chris Detzler had exhibited toward me since 2012, dangerously

    ramped up after Amy arrived. It became inhumane After Amy and

    Chris forced my retirement, the agency transferred Amy to an office In

    Idaho. To create even more victims


    November 19,2020 Instant message sent to Alan Heim after the

    disturbing August 2020 mediation. I was in the middle of a mental

    crisis! How could Alan allow this to be done. The content is sad but it

    shows my state of mind.


    March 26, 2015 Email to Seattle Regional Commissioner, Stanley

    Friendship. Informing him of the ongoing harassment that was forcing
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    my retirement. I felt so threatened. I should have been able to leave

    when I wanted. Stanley Friendship apologized for the harassment and

    said he wish I was retiring under more pleasant circumstance. Stanley

    did assist me in securing a waiver for my health insurance. I only

    needed 9 months to be vested for my insurance. Why would I plan to

    retire and must go 6 months without health insurance when I was so

    sick? I was two years post retirement eligible. I was forced out and I still

    suffer from the trauma of these experiences to this day!


    03/2015 during my last days working, I tried to gather as much as I

    could to stay connected with the job. To stay employed! I copied

    information on becoming are-employed annuitant on 03/09/2015. I

    filed a workmen's comp claim on 02/20/2015.1 believed and still

    believe that my ongoing mental health issues are directly related to the

    behaviors of the Social Security administration and EEOC. Lastly, I

    thought that EEOC would resolve my case in a timely manner and grant

    me my job back! I was 56 when I filed my EEO case, and I am 63 when it

    is finally resolved. My sarcoidosis has been in remission since 2017. I

    got my first Social Security disability check in 2018. Almost 3 years after

    I retired, with no word on the discrimination. I could have opted for a
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    closed period of disability and still gone back to work as late as 2018.

    But it took EEO three more years.


    After 39 years of service, I did not get an office retirement party. Chui

    Shirts escorted me out of the office on 03/31/2015, like I was a criminal.

    Chui followed Chris' orders. He gave Chris the ammunition that Chris

    needed to end my career. Chris had it on paper that Sherril Artis was

    rude and insubordinate. Just like Chris and Amy had said. Now Chris has

    it written by someone other than him or Amy. If workmen's comp was

    approved I could be off to heal and later return to work or plan for my

    retirement.   I filed for a trial Retirement with the option of being able

    to return to work by 03/2016. Why would I opt to return to work by

    03/2016, if I wanted to retire in 02/2016? My attorney said this could

    have netted a higher award. Moloy Good refused to appeal!




    The time that I was subjected to the hostile work environment, the

    entire Seattle Region executive staff was aware of the hate being

    practiced against me. You can see from my repeated pleas for help, for
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    accommodations, to make it stop! Was it my health or was it the

    harassment?


    My planned retirement was always age 62. With the option of coming

    back as a rehired annuitant. My husband knew this. My husband is four

    years my senior and his planned retirement was always 2016, when he

    was 62. He wanted me to retire immediately in 2014 because he was

    sick of hearing about Amy and Chris. We compromised on 2016

    because I would have my insurance and 40 years of government

    service. Due to the harassment, I could not make it to the 2016.


    My husband's nonsupport consisted of his refusal to speak to Chris

    about the harassment. Chris and Amy's behavior was affecting my

    entire life. Regional Office would not help. My husband's feared, as a

    black man, was that he would be accused of harassment for getting

    involved. He was probably right. Chris slandered me by telling the

    judge and the Social Security executives that my family attacked him,

    that I told him that I don't like white women, and that I requested Teri

    to supervise me because she has black people in her family. It is

    slander! Done to destroy me and for him to be believed. Chris's
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    slander caused the Social Security Administration to fail to act in a

    reasonable timely manner to help me preserve my mental health.

    Which has been the biggest loss that I have suffered. That is

    something that the agency cannot replace


    The stress of my son from birth and throughout this traumatic

    experience: Lloyd II was over 30 years old at this time! I had been

    promoted and received awards with this same disabled son. The agency

    always knew that my son had a learning disability. SSA supported me in

    my pursuit of treatment for him and even allowed me to bring him to

    work during "bring your kid to work day". During the years of

    harassment, I don't remember thinking much about Lloyd II. I was

    thankful that he had some independence and did not need me. His

    behavior was his own. The fault was all with the Social Security

    Administration. Award me for the years that I could have worked, if not

    forced out my Chris Detzler. My failed health was directly related to the

    job-related stress. My diabetes is in control, sarcoidosis in remission,

    but I am plagued by the trauma created from this experience.
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     I have been unable to find an attorney to represent me on this matter.

     My depression and anxiety have made it a challenge for me to

     complete these requirements. If my case is accepted, please assist me

     in securing representation.
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Documentation showing that I am a Jantz class action member. I have called the
attorneys that were involved in the case. I have attempted resolution since 2017.
I updated them on my address changes. In 02/2020 I contacted Senator John
Boozman, of ~rkansas, to look into the matter. I received a phone call from Social
Security in 2020 stating that they were working on the matter. To date, I have
received no resolution. Please note that the tactics that SSA used in the Jantz
case are the same as what they used to discriminate against me with.




Deadline for submission was February 26, 2015. I faxed my information on
02/15/2015.




      Jantz Class Member information
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     JOHN BOOZMAN                                                                                                                    COMMITTEES:
          ARKANSAS
                                                                                                                    AGRICULTURE, NUTRITION, AND FORESTRY
141 HART SENATE OFFICE BUILDING                                                                                      CHAIR, COMMOOmES, RISK MANAGEMENT, ANO TAAOE
     WASHINGTON, DC 20510
                                                                                                                                  APPROPRIATIONS
         202-224-4843
                                                      tinitrd ~tatm ~rnatr                                                     CHAIR, HOMELAND SECURITY

                                                                                                                       ENVIRONMENT AND PUBLIC WORKS
                                                                WASHINGTON, DC 20510                                      CHAIR, FISHERIES, WATER, AND WILDLIFE

                                                                                                                                VETERANS' AFFAIRS

                                                                                                                                       BUDGET


                                                                    February 20, 2020


         Mrs. Sherril A. Artis
         9309 Woodruff Road
         Sherwood, AR 72120-4431

         Dear Sherril,

         Thank you for completing the authorization form regarding your recent concerns.

         To help, I contacted the appropriate officials to make an inquiry on your behalf and will provide an
         update as soon as I receive a response.

         Please be assured of my interest and cooperation as your U.S. Senator.




         ~~~'o~
         U.S. Senator

         JB: sf




 106 W. MAIN ST.       1120 GARRISON AVE.     300 s. CHURCH ST.      1401w.   CAPITOL AVE.   213w.   MONROE     1001 Hwv. 62 E.         620 E. 22~ ST.
 SUITE 104             SUITE 2B               SUITE 400              SUITE 155               SUITE N            SUITE 11                SUITE 204
 EL DORADO, AR 71730   FORT SMITH, AR 72901   JONESBORO, AR 72401    LITTLE ROCK, AR 72201   LOWELL, AR 72745   MOUNTAIN HOME, AR 72653 STUTTGART, AR 72160
 870--863-4641         479-573-0189           870-268-6925           501-372-7153            479-725----0400    870-424--0129           870--672---6941
                Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 21 of 90




Jantz

From: sherril artis (sherril.artis2018@yahoo.com)
To:      theartis2002@yahoo.com
Date: Monday, February 17, 2020, 11:11 PM CST




                       REQUEST HELP WITH AN AGENCY


  To start the process, simply complete the online form below, print and sign it and then then fax it to
  (479) 725-0408. You can also mail your signed authorization form to my Lowell office (213 West
  Monroe, Suite N, Lowell, AR 72745) if you do not have access to a fax machine.

      Request Help With an Agency


                                       John Boozman
                                                    l11tp:/ lh\\\\.lo.tu,,m..111   ,1·11.1l1•.~11\



      CONTACT INFORMATION
  Prefix: Mrs.
  First Name: Sherril
  Middle Initial: A
  Last Name: Artis
  Address 1: 9309 E Woodruff Ave
  Address 2:
  City: Sherwood
  State:AR
  Zip Code: 72120
  Home Phone: 3609369407
  Cell Phone:
  Email Address: tt_nation@yahoo.com
  Date of Birth:

      Is this request being made on behalf of another individual?
      No
      ADDITIONAL PERSON'S INFORMATION
  First Name:
  Last Name:
  Address:
  Address 2:
  City:
  State:
  Zip Code:
  Home Phone:
  Cell Phone:
  Email Address:
  Date of Birth:
                      Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 22 of 90
••. , .. >




             What problem can I help with?
             Other

             Please provide a brief explanation of the problem:
             In 2014 I was registered as a class action member of the Jantz V Barnhart law suit. I was living in
             Washington State at the time and Senator Patty Murray was the senator that I would have once used
             for this matter but I am now a resident of the state of Arkansas since 2017. Over the years I have
             contacted the attorney for this case to keep them abreast of address changes and so forth. It is my
             understanding that this case has since been settled. I have called and left messages with no response
             from these attorney for over six months. Would you be able to assist me with getting the status of this
             case and if anyone will be contacting me.


             Social Security Number: 432132685
             Civil Service Number: csa8757264
             Veteran's Claim Number:
             Branch of Service and Rank:
             Alien Registration Number:


             In accordance with the provisions of the Privacy Act, I hereby authorize Senator John Boozman or a
             member of his staff to make the appropriate inquiry about this issue on my behalf.




             SIGNAT



             DATE     o?)11 / d/rxJ.o
         Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 23 of 90




                                          EXHIBIT C(2)
          Jantz, et al. v. Social Security Administration, EEOC Case No.: 531-2006-00276X

                                      CLAIM FORM

 If you wish to receive a Settlement Award in the form of a monetary payment under the
terms set forth in the Notice of Proposed Class Action Lawsuit and Settlement Agreement
  that the Notice describes, you must complete and return this Claim Form to the Claims
                            Administrator by February 26, 2ois.          '
                             MAIL OR EMAIL OR FAX TO:
                               SSA Disability Class Action
                                    Claims Administrator
                                     c/o Angeion Group
                                     1801 Market Street
                    l                     Suite 660
                                  Philadelphia, PA 19103
                                Telephone: 215-563-4116
                                     Fax: 215-525-0209
                             Email: speneda@angeiongroup.com


                                               Date of Birth:    '-e l qc5J>
                                                                \.)/,

                                               Phone No.:   3k!J C/d?-C/ () 7
                                               Email:   tJt _ ;
If your address changes, you must send the Claims Administrator your new address to ensure
that you receive any payment to which you are entitled.

Please complete the below information to the best of your ability.

   A. If you retired from SSA, please provide the date (at least month and year) of your
      retirement in the space below. If you are a current SSA employee or a separated SSA
      employee, leave this space blank.

       I retired from SSA on _ _ _ _ _ _ _ [date].

   B. If you separated from SSA, please provide the date (at least month and year) of your
      separation below. If you are a retiree or a current employee of SSA, leave this space
      blank.

       I separated from SSA on _ _ _ _ _ _ [date].
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C. If you filed one or more formal EEOC complaint(s) against SSA alleging disability
   discrimination on or after August 22, 2003, please list the number of such complaints
   below. If not, please leave this space blank:

   I filed ~ formal EEOC complaints against SSA alleging disability discrimination on or
   after August 22, 2003.

   I filed such complaints on the following dates _o{~fJ-/_D~~d,~µ;/~_cJ~0~/~1=--
   [provide dates to the best of your ability].

D. Only current or former employees who worked at SSA between August 22, 2003 and
   October 30, 2014, who have a targeted disability, meaning deafness, blindness, missing
   extremities, partial paralysis, complete paralysis, convulsive disorders, mental
   retardation, mental illness, or genetic and physical conditions affecting limbs and/or
   spine, and as further specifi.cally enumerated and updated in Part 1, Targeted/Severe
   Disabilities, on the left-hand column of the enclosed Self Identification of Disability
   form, are eligible to receive a Settlement Award. Please check the box below if
   applicable to you:

   By checking here /iaffirm that I have a targeted disability as defined in the
   preceding paragraph and as further specifically enumerated and updated in Part 1,
   Targeted/Severe Disabilities, on the left-hand column of the enclosed Self Identification
   of Disability form.

   If you affirmed above that you have a targeted disability, then please proceed to the next
   question. If not, then you are not a Settlement Class Member and you are not entitled to a
   Settlement Award, and should not return this Claim Form.                                ·

E. FOR CURRENT SSA EMPLOYEES ONLY:

   You may elect either of the two options stated below:
        I
    v' I have completed and enclose the Self-Identification of Disability form attached
   hereto and have entered the code on the top right-hand corner that describes my targeted
   disability. I understand that a copy will be provided to SSA;

   OR

   _        I have enclosed medical documentation of my targeted disability.

F. FOR FORMER SSA EMPLOYEES:

   _    I have enclosed medical documentation of my targeted disability.

G. Check the appropriate box(es) below. If the statement that appears next to the box does
   not apply to you, leave the box blank:


                                              2
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        1.            I did not apply for any positions for which I made it onto a Best Qualified
        List ("BQL") between August 22, 2003 and October 30, 2014.

        If you checked Box 1 above, you should not proceed further. Simply sign and return the
        Claim Form.

        2.     ✓Between         August 22, 2003 and October 30, 2014, I applied for one or more
        positions for which I made it onto a BQL and was not selected for the position.

        If you checked Box 2 above, please proceed to Box 3. If you did not check Box 2 above,
        you should not proceed further. Simply sign and return the Claim Form.

        3.     Betweeh August 22, 2003 and October 30, 2014, the total number of instances in
        which I made it onto a BQL but was not selected from the BQL is    _s__
                                                                           [insert number].

        4.     _cl. On one or more occasions between August 22, 2003 and October 30, 2014, I
        made it onto a BQL from which I was not selected where the position would have been a
        higher grade (GS) level than the position I occupied at the time.

        5.      The earliest occasion between August 22, 2003 and October 30, 2014, when I
        made it onto a BQL for a position that was at a higher grade (GS) level than the position I
        occupied at the time, but was not selected from the BQL, was on or about
           if_O IV             [date].    At that time, I applied for the position of
         ::f>~.._Ji
              ·_
                        t(\a_r-Ur
                        I
                    ' j =-__D _fu
                                         [describe position to the best of your ability] in
                                       component/region. (If you know the number of the
        vacancy announcement, or any additional descriptive information about the position,
        please .             include             such              information                here:

        _____________________________.)
In order to receive your Settlement Award, please affirm the following by signing below.
You must also include the documentation that is described in Section E above (for current
SSA employees), or S~tion F above (for former SSA employees).

I hereby declare under penalty of perjury that (1) the foregoing is true and accurate to the best of
my knowledge, and (2) I wish to participate in the Settl e · and recei any Settlement Award
for which I ;uayfy. /                                                          /]       /.J _
Date:        ./cJ. 7_/0                                                      U~ ~




                                                 3
                           Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 26 of 90
.

    SELF-IDENTIFICATION OF DISABILITY
    (see instructions and Privacy Act information on reverse)

                                                               Date ofBirth (mm/yy)


                                                                     ~1,/5F                                                 ER CODE HERE:----->                 00]
    Defanition:                                                                          Pumose;
    An Individual with a disability: A person who (1) has a physical impairment or     Self-identification of disability status is essential for effective data collection
    mental impairment (psychiatric disability) that substantially limits one or more   and analysis. The information you provide will be used for statistical
    of such person's major life activities; (2) has a record of such impairment; or    purposes only and will not in any way affect you individually. While self-
    (3) is regarded as having such an impairment This definition is provided by        identification is voluntary, your cooperation in providing accurate
    the Rehabilitation Act of 1973, as amended(29 U.S.C. 701 et seq.).                 information is critical.


    Part I. Targeted/Severe Disabilities                                               Part IL Other Disabilities

    Hearing                                                                            Hearing Conditions
    18 - Total deafness in both ears (with or without understandable speech)             15 - Hearing impairment/hard of hearing


    Vision                                                                             Vision Conditions
    21 - Blind (inability to read ordinary size print, not correctable by glasses,     22 - Visual impairments (e.g., tunnel or monocular vision or blind in one
         or no usable vision, beyond light perception)                                      eye)

                                                                                       Physical Conditions
    Missing Extremities
                                                                                    26 - Missing extremities (one hand or one foot)
    30 - Missing extremities (missing one arm or leg, both hands or arms, both      40 - Mobility impairment (e.g., cerebral palsy, multiple sclerosis, muscular
         feet or legs, one hand or arm and one foot or leg, one hand or arm and           dystrophy, congenital hip defects, etc.)
         both feet or legs, both hands or arms and one foot or leg, or both hands 41 - Spinal abnormalities (e.g., spina bifida, scoliosis)
         or arms and both feet or legs)                                             44 - Non-paralytic orthopedic impairments: chronic pain, stiffness,
                                                                                          weakness in bones or joints, some loss of ability to use part or parts of
    Partial Paralysis                                                                     the body
                                                                                    51 - IDV Positive/AIDS
    69 - Partial paralysis (because of a brain, nerve or muscle impairment,
                                                                                    52 - Morbid obesity
         including palsy and cerebral palsy, there is some loss of ability to move
                                                                                    61 - Partial paralysis of one hand, arm, foot, leg, or any part thereof
         or use a· part of the body, including both hands; any part of both arms or
                                                                                    70 - Complete paralysis of one hand
         legs; one side of the body, including one arm and one leg; and/or three
                                                                                    80 - Cardiovascular/heart disease with or without restriction or limitation on
         or more major body parts)
                                                                                          activity; a history of heart problems w/complete recovery
                                                                                    83 - Blood diseases (e.g., sickle cell anemia, hemophilia)
    Complete Paralysis                                                              84 - Diabetes
    79 - Because of a brain, nerve or muscle impairment, including palsy and        86 - Pulmonary or respiratory conditions (e.g., tuberculosis, asthma,
         cerebral palsy, there is a complete loss of ability to move or use a part        emphysema, etc.)         ·
         of the body, including both hands; one or both arms or legs; the lower     87 - Kidney dysfunction (e.g., required dialysis)
         halfofthe body; one side of the body, including one arm and one leg;       88 - Cancer (present or past history)
         and/or three or more major body parts                                      93 - Disfigurement of face, hands, or feet (such as those caused by bums
                                                                                          or gunshot wounds) and noticeable gross facial birthmarks
                                                                                    95 - Gastrointestinal disorders (e.g., Crohn's Disease, irritable bowel
    Other Impairments                                                                     syndrome, colitis, celiac disease, dysphexia, etc.)
    82 - Epilepsy                                                                   98 - History of alcoholism
    90 - Severe intellectual disability
    91 - Psychiatric disability                                                     Speech/Language/Leaming Conditions
    92 -Dwarfism                                                                    13 - Speech impairment - includes impairments of articulation (unclear
                                                                                          language sounds), fluency (stuttering), voice (with normal hearing),
                                                                                          dysphasia, or history of laryngectomy       ·
                                                                                    94 - Learning disability - a disorder in one or more of the processes
                                                                                          involved in understanding, perceiving, or using language or concepts
                                                                                          (spoken or written) (e.g., dyslexia, ADD/ADHD)

                                                                                       Other Options
                                                                                       01 - I do not wish to identify my disability status. (Please read the notes on
                                                                                             the next page.) (Note: Your personnel officer may use this code if, in
                                                                                             his or her judgment, you used an incorrect code.)
                                                                                       05 - I do not have a disability.
                                                                                       06 - I have a disability, but it is not listed on this form.




                                                                                                                                                                SF 256
                                                                                                                                                    Revised July 20 I 0
    U.S. Office of Personnel Management                                     Page I of2                                                     Previous editions not usable
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Attached are the emails sent to the Seattle Regional Commissioner,
Stanley Friendship. Mr. Friendship assisted me in securing my health
insuranceMr. Friendship apologized for the harassment that I was
experiencing and said he wished I was retiring under more pleasant
circumstances.
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From: Friendship, Stanley C.
Sent: Thursday, March 26, 2015 2:40 PM
To: Artis, Sherril
Cc: Heim, Alan; Mezo, Liana; Hughes, Stephen
Subject: RE: My retirement




Hi Sherril,



I am sorry to hear about your situation, and wish you were leaving under more pleasant
circumstances. I will look into getting you an exemption for your Health Insurance
coverage. We will get back to you soon.



Take care,



Stanley




                      CHARACTER IS DOIN6 WHAT IS RI6HT, filf£N WHEN

                                         NO ONE IS WATCHIN6.

                                               UNKNOWN




From: Artis, Sherril
Sent: Thursday, March 26, 2015 8:27 AM
To: Friendship, Stanley C.
Subject: My retirement




Stanley,
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I have worked for this agency for 39 years. I am going to retire on 03/31/2015 due to ongoing
harassment and discrimination in the Vancouver office. I cannot control my health issues due to
the stress. I am leaving because it is needed for my health and for the happiness of management
in this office. I have never been written up or reprimanded in all of my years of service, but on
02/20/15 that is what happened. I was so shaken, that I finally realized that they are serious
about wanting me gone. I have agreed to retire, but I want the reprimand to be removed from my
record. Chris has told the union that he will remove it the day after I retire, it is sad that Chris
Detzler has not shown me any integrity in the past. I have written to Steve Hughes, Area
Director, on this matter but I have not heard from him.



The other issue that I have is that I have diabetes and sarcoidosis. I need my health insurance to
carry over into retirement. If it was not for this harassment, I planned to retire in 02/2016. At
that time I would have had my time in for insurance and 40 years of service. Since it is the
agency's fault that I can no longer work here, could you assist me in keeping my health
insurance. I am working with my doctor and Human Resources to get a waiver but my last day
is coming soon. I need it resolved.



Please help!




Sherril Artis TE/923

Suite 500

805 Broadway

Vancouver, WA 98660

(866) 605-8967 x20645

(360) 696-7944 fax
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                                                       UNITED STATES OFFICE OF PERSONNEL MANAGE:MENT
                                                                            Washington, D.C. 20415


                               Retirement
                                Services




                                                                     March 19, 2015


                               She11·il Artis
                               805 Broadway, Ste 500
                               Vancouver, WA 98660

                               Dear Ms. Artis:

                               Tius is in reply to your letter to the Office of Personnel Management (OPM) asking us to waive the
                               5-year participation requirement so that you may continue your enrollment in the Federal Employees
                               Health Benefits Program (FEHBP) as a retiree. We must have more information to determine whether
                               you are eligible for a waiver.

                               OPM, in its sole discretion, can approve a waiver of the participation requirement ifwe believe it would
                               be against equity and good conscience not to do so. Evidence presented must demonstrate that you
                               intended to be emolled in the FEHBP as an annuitant, that the circumstances preventing the completion
                               of the 5-year participation requirement are essentially outside of your control, and that you exercised due
                               diligence in protecting your right to enroll as an annuitant. Note that this decision can be made no sooner
                               than three months in advance of your retirement.

                               The attachment explains in full the information we require. Please use the enclosed envelope to return
                               the requested information. You may also fax the information to 202.606.1640. If you have any
                               questions, you may contact me: rosalyn.mattocks@opm.gov or 202.606.1932.

    ----We-look-fo1:wru:cLt0-set-ving_you.-----------------------·········-··--··-·····•··. · -




                               Enclosure




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,.                                  ...
                    Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 31 of 90
                                 -~.

                                 UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
                                                                 Washington, D.C. 20415


     Retirement
      Services


                                                                 June 26, 2015

                                                                                                  Reference: CSA 8 757 264

     Sherril A. Artis
     1309 SE Park Crest Ave
     Vancouver, WA 98683

     Dear Ms. Artis:

     This is in response to your request for a waiver of the 5-year participation requirement so thai you can
     continue your enrollment in ·the Federal Employees Health Benefits Program (FEHBP) as a retiree.

     Due to the exceptional circumstances surrounding your case, the Office of Personnel Management
     (OPM) has determined that it would be against equity and good conscience not to allow you to continue
     your enrollment in the FEHBP. Therefore, a waiver of the 5-year participation requirement is
     appropriate.

     Thi~ waiver will allow you to continue your health benefits coverage in the FEHBP into retirement.
     Please be advised that this decision applies only to continue your health benefits enrollment, and not to
     any decision concerning your retirement eligibility. The premiums will be withheld from your monthly
     annuity payments.

      We are pleased to have been of assistance in this matter.


     ,,




          www.opm.gov    Our mission is to ensure the Federal Government has an effective civilian workforce     www.usajobs.gov
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I was trying to save my job in the last months before I was forced to


When the harassment became unbearable in 2013, I applied for a job as
a PASS specialist. It was a lateral. I was rnore than qualified for the job.
I tried to get Chris to assist me, but he told me that he had nothing to
do with the selection. I asked who was the selecting official. He looked
at me strangely and said Terry Temple. Chris knew that I had filed a
previous EEO complaint against Terry. Chris an I both knew I would not
be getting that job.

In December 2013, I considered writing up a job plan and presenting it
to Regional Office so that I could work for the agency longer. I spoke
with OIG agent, Shane Winder. I needed some relief from the constant
belittling and hate from Chris and Amy.

I filed for a trial retirement. If it had been approved, I could hav~
returned to work by 03/2016.Alan Heim denied my request, even
though; I promised Alan and Chris that I would seek to return to work
in the Dallas Region. This is the document that my attorney felt would
have proven to the judge that I did not plan to retire in 2016. Why
would I return to work in March 2016, when I had plan to retir~ in
02/2016?

I truly believed that if I was disabled it was due to the unchecked
discrimination on the job. I filed for workmen's compensation on
02/20/2015. I was never contacted abut this claim and I think it is still
pending in the system.

On March 9, 2015, I researched and copied the information on
Reemployed annuitants. I wanted to work! It took so long for them to
decide my case. Seven long years. At 63 should I have asked to return
to work. I would have if it had been decided when I was 57, 58, or 59 or
maybe 60.
                                                                  ··•··· ,-~~
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                                                                               -.~ -

Artis, Sherril
From:                       Skaflestad, Sally
Sent:                       Thursday, March 05, 2015 8:25 AM
To:                         Artis, Sherril
Subject:                    RE: Retirement
Attachments:                sf3107.pdf; SF2818.pdf; w4p.pdf; 04302015.pdf; 05012015.pdf


Sherril,

You will need to complete the attached retirement application forms and mail them with a photocopy of your
marriage certificate to the address shown below.    ·

As a FERS employee, you may want to consider retiring April 30th rather than May 1st • If you retire April 30th ,
your annuity will be paid in June for the month of May. If you retire May 1st, your annuity will be paid in July for
the month of June. However, April 30th is before the end of the pay period, so you would not accrue annual or
sick leave in pay period 10.

I attached calculations for April 30th and May 1st•

For assistance with completion of the FEGLI form SF-2818, you may use the FEGLI calculator here
http://www.opm.gov/retirement-services/calculators/fegli-calculator/.

Sally Skaflestad
Human Resources Specialist
Social Security Administration
701 Fifth Avenue, Suite 2900, MIS 292B
Seattle, WA 98104-7075
Phone: (206) 615-2664

From: Artis, Sherril
Sent: Wednesday, March 04, 2015 4:46 PM
To: Skaflestad, Sally
Subject: RE: Retirement

May 1, 2015

From: Skaflestad, Sally
Sent: Wednesday, March 04, 2015 1:49 PM
To: Artis, Sherril
Subject: RE: Retirement

What date is your anticipated retirement? We need a date for the calculation.

Sally Skaflestad
Human Resources Specialist
(206) 615-2664

From: Artis, Sherril
Sent: Wednesday, March 04, 2015 1:45 PM
To: Skaflestad, Sally
Subject: RE: Retirement

                                                          1
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Sally,

I need an estimated amount of my retirement benefits and I need to know where to access the application for Federal
Employees benefits.

Sherril


From: Skaflestad, Sally
Sent: Tuesday, March 03, 2015 1:55 PM
To: Artis, Sherril
Subject: RE: Retirement

Sherril,

Because the Trial Retirement Program is a written agreement between the employee and the manager, it
would depend on whether or not the Arkansas office would consider your agreement with the former office.

An OPM-approved FEHB waiver should not be affected by Trial Retirement.

Sally Skaflestad
Human Resources Specialist
(206) 615-2664

From: Artis, Sherril
Sent: Monday, March 02, 2015 10:06 AM
To: Skaflestad, Sally
Subject: Retirement

Sally,

I am preparing to make some final decisions on my retirement. I will be writing to get a
waiver on my health insurance. I will not have fulfilled the 5 year requirement until
12/31/15. I am looking at the trial retirement. If I decided to come back within a year, am I
required to return to the same office that I retired from? My plan is to relocate to
Arkansas. Does the waiver on the health insurance affect the trial retirement? I am pretty
excited about the options that I have with retirement.


Sherril Artis TE/923
Suite500
805 Broadway
Vancouver, WA 98660
(866) 605-8967 x20645
(360) 696-7944 fax




                                                          2
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R~-Employed Annuitants                                                   Page 1 of2




                                  Re-Employed Annuitants
Reemployed annuitants are individuals who originally retired under CSRS or FERS and have returned to
Federal service.

Reemployed annuitants serve at the will of the appointing officer and may be separated at any time at
the discretion of the appointing officer regardless of the type of ~ppointment they hold.

Reemployed annuitants continue to receive their full annuity. Their salary will be reduced or offset by
the amount of their annuity. Reemployed annuitant status has no effect on an employee's right to elect
FERS. It does not create, or extinguish, an existing right. A CSRS or CSRS-Offset reemployed annuitant
may transfer to FERS if he/she is reemployed after a break in service of more than 3 days and is
reemployed in an appointment not excluded from FERS coverage.

Treatment of Pay for CSRS annuitants upon reemployment:

  1. Pay received during a reemployment period is offset by the amount of the annuity.
  2. CSRS retirement deductions are optional and, if elected, are withheld as a percentage of full salary
     before the offset.
  3. Social Security deductions are not withheld, even if the appointment is temporary.

Treatment of Pay for CSRS Offset annuitants upon reemployment:

  1. Pay received during a reemployment period is offset by the amount of the annuity.
  2. CSRS retirement deductions are optional, and if elected, are withheld as a percentage of full salary
     before the offset.
  3. Social Security deductions are withheld from the amount of salary after the offset for the annuity
     payable.

Treatment of Pay for FERS annuitants upon reemployment:

  1. Pay received during a reemployment period is offset by the amount of the annuity.
  2. FERS retirement deductions are mandatory and are withheld based on the amount of salary before
     the offset for the annuity.
  3. Social Security deductions are withheld from the amount of salary after the offset for the annuity
     payable.



http://personnel.ba.ssa.gov/ope/ceb/annuitants.htm
                                                                            Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 36 of 90




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~2111/2021                                                                                                                                                                             ECOMP - U.S. Department of Labor




      OSHA 's Form 301
      injury and Illness incident Report                                                                                                                                                                                                                                                                                                                             U.S. llenarlnurnt of laoo,
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         Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 38 of 90




                                                                     March 18, 2015

Ms. Sherril A. Artis
Social Security Administration
805 Broadway St, Suite 500
Vancouver, WA 98660

Dear Ms. Artis:

I-am-writingin-r~0st.--fOF-Trial--~ementfr-0m-the-Social-Soomity-------.-·-·---·· •-
Administration. Based upon our current resource allocations in Area 2 and the uncertain budget,
I am not in a position to approve your request. In addition to the staffing situatj.on, I considered
                                                                                     ·.. .. . .
other factors such as workloads .that are expected in the coming year. .          ·· -·. ·

If you choose to retire,this denial ofTrial Retirement does not preclude you from seeking
employment with SSA or another agency within the Federal Government in the future.
Regardless of how you retire you may still be considered for reemployment as an annuitant.

If you have any questions regarding reemployment, you can contact Darla Anderson, Benefits
and Employment Services Team Leader at 206-615-2019. If you have any questions concerning
benefits as a reemployed anp.uitant yqu can. contact Sally Skaflestad, Human Resow;ces
Specialist at 206-61_5-2664.     ·                                         ·   · ·    ··



                                      Sincerely,


          ------···----------~
                                     (}()CU>--~-----·            .

                                      AlanHeim
                                      Deputy Regional Commissioner
                                      Seattle Region
    Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 39 of 90




The judge did not address the retaliation that I was experiencing in the
Vancouver office. Even Chris demanding that I retire before he would
sign off on the grievance was retaliation. I asked that retaliation be part
of my EEO complaint over and over again. Chris and Amy stood in the
way of any promotions, reasonable accommodations, or training
request. I had been in management and had not taken or processed
disability cases in several years. Amy told me that I should just know
now to do the work.




Retaliation-·-·
                      Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 40 of 90



Artis, Sherril
From:                           ROBERT FONTEK <robertfontek@yahoo.com>
Sent:                           Monday, February 23, 2015 11 :46 AM
To:                             Artis, Sherril
Subject:                        Re: Revised EEO Summary- Quick Question about the date listed (5/14/14)
Attachments:                    ARTIS 22315 SUPP AF.doc; ARTIS CertificationPage-generic.doc




Dear Ms. Artis,

No problem.


Attached is a Supplemental Affidavit and Certification Form. Please return it with the original Affidavit you
received.



Thank you,



Robert Fontek
Contract EEO Investigator
P.O. Box 1979
Boothwyn PA 19061-7979

Phone: 610-800-0354
FAX: 610-497-3587
Email: RobertFontek@yahoo.com


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email at robertfontek@yahoo.com, or by telephone at 610-800-0354.




On Feb 23, 2015, at 1:55 PM, Artis, Sherril wrote:


This is the email that I sent requesting that retaliation be included. The retaliation also stems from a prior EEO complaint that I filed
in 2009. Amy Throop was in the district where I was at the time that the complaint was filed. Since she came to this office, the
harassment and discrimination has escalated.


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                   Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 41 of 90



Artis, Sherril
From:                      ROBERT FONTEK <robertfontek@yahoo.com>
Sent:                      Monday, February 23, 201510:00 AM
To:                        Artis, Sherril
Cc:                        Weich, Ivan
Subject:                   Re: #SEA-01-0434-SSA Retaliation


Dear Ms. Artis,



You claim ofretaliation was not included in the January 14, 2015 Acceptance Letter from your Agency. If you
want me  to include retaliation in my investigation please advise and I will email the retaliation questions to you
in a Supplemental Affidavit.



Thank you,



Robert Fontek
Contract EEO Investigator
P.O. Box 1979
Boothwyn PA 19061-7979

Phone: 610-800-0354
FAX: 610-497-3587
Email: RobertFontek@yahoo.com


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On Feb 23, 2015, at 12:49 PM, Artis, Sherril wrote:


Mr. Fontek,

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Thank you for your email and the update. I can definitely add an additional claim of discrimination to your open
case (SEA-14-0434-SSA). Please provide me with the following for the new claim of discrimination:


           •   Date (when the discriminatory event occurred)
           •   Name of the person who committed the act of discrimination
           •   What act of discrimination was committed against you
           •   Where the discriminatory act occurred
           •   Protected class/basis named (if different from the other claims listed in the summary).


Feel free to call me at 206-615-2659 if you have any questions about this email.
Respectfully,
Melissa Bates
Equal Employment Opportunity Specialist
Social Security Administration
Seattle Region Civil Rights & Equal Opportunity Team
Tel (206) 615-2659 I Fax (206) 615-2770

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privileged and confidential. If you are not the intended recipient, you are hereby notified that any dissemination,
distribution, and copying of this email is strictly prohibited. If you receive this email in error, please notify the
sender and permanently delete this email and any attachments immediately. You should not retain, copy, or
use this email or any attachments for any purpose nor disclose all or any part of the contents to any other
person.


From: Artis, Sherril
Sent: Saturday, May 10, 2014 7:39 AM
To: Bates, Melissa CREO
Subject: RE: Revised EEO Summary - Thank you
Sensitivity: Confidential


Melissa,

I want to file a separate EEO complaint for retaliation. This time I want to name Chris Detzler and Amy Throop. I will
write it up over the weekend and send it to you on Monday.

Sherril


From: Bates, Melissa CREO
Sent: Thursday, May 08, 2014 4:24 PM
To: Artis, Sherril
Subject: RE: Revised EEO Summary - Thank you
Sensitivity: Confidential


Sherril,


                                                            3
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Attached are emails sent to Alan Heim, Assistant Regional .
Commissioner of the Seattle Region. Alan had once thought enough of
me to offer me the management position in Longview Washington. I
was appalled by Alan's approach to the harassment. I asked him for a
temporary position so I could be from under the stress created by the
harassme11t. I told him that I would drop the EEO case, if he would just
make them stop.

I was receiving the best medical treatment possible for my medical
conditions, but the illegal stress brought on by the years of harassment
was taking its toll. I could not control my blood sugars and the
sarcoidosis could not got into remission with that type of stress. Panic
attacks that I never had before, losing control of my bladder-while
Amy was demanding that I get permission to go to the bathroom

Alan told me that he would refer me to Gail Leon. I am not sure who
she was or what her position was. She never contacted me. The next
time that I heard her name, she was retiring.

Social Security failed me time and time again.




Alan Heim emails
                       Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 44 of 90



Artis, Sherril
From:
Sent:
                             ---
                              ...--,-



                             Heim, Alan
                             Wednesday, January 15, 2014 11 :35 AM
To:                          Artis, Sherril
Subject:                     RE: I need to speak with you


My thoughts will be with you Sherril and when asked will do all I can to help.                               Alan


From: Artis, Sherril
Sent: Wednesday, January 15, 2014 11:16 AM
To: Helm, Alan
Subject: RE: I need to speak with you


Thanks so much, Alan. I knew that you would work through the proper channels.

Sherril


From: Heim, Alan
Sent: Wednesday, January 15, 2014 10:52 AM
To: Artis, Sherril
Subject: RE: I need to speak with you


Hi Sherril, I'm so sorry that you are having such medical difficulties.  I hope you are
able to get better and have the steroids reduced or removed soon.  I spoke to the DRC
regarding your situation and since the AD is visiting Vancouver she is going to ask him
to speak to you.  I hope that is okay with you because before I can do anything I have to
run it by them first.  Please let me know if you have any further questions or reacti,ons
to the conversation with the AD. Alan


From: Artis, Sherril
Sent: Tuesday, January 14, 2014 5:09 PM
To: Heim, Alan
Subject: I need to speak with you


Alan,

I would like to speak with you about a virtual JEP or some work assignment that will help me to get through a
transitional phase with my health. I was diagnosed with a lung disease a few months back and the medication and
other health conditions are making hard for me to deal with the work related stress. I am on prednisone which is a
steroid with tons of side effects. I spoke with the manager here and he is aware that I am looking for options to help
me through until the steroids are reduced or removed. I have some ideas about what I could work on to help out the
area. I just need something that is more focused, self-directed, and self-controlled. I do not have my JEP papers in but I
can do that very quickly.

Would you be willing to at least give me some direction'? I know that you a busy man but you have always been fair and
square with me.


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                              Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 45 of 90




Artis, Sherril
From:                                     Artis, Sherril
Sent:                                     Tuesday, July 01, 2014 3:14 PM
To:                                       Heim,Alan
Cc:                                       Hughes, Stephen
Subject:                                  Helpl


Alan,

  I am being harassed by management in this office to the point that It has totally stressed me out. Please help I The
  manager, Chris Detzler, called me In his office on 05/15/14 and called me rude, disrespectful and a liar. It was so loud
  that it frightened many of the employees in this office. We now have a white noise machine so that others cannot hear
  when someone is being belittled and intimidated. I need this to stop. I am so paranoid that it is hard to come to work.
  I had a misuse file on my desk that showed where management was negligent with the processing of the case. The T2
  TE and I told management-that we were not following the propt;?r protocol. The file Is now missing from my desk. Amy
  is forcing us to compromise the integrity of the work. One of my clients called in and was told that "You are dealing
  with Sherril Artis and she does not know what she Is t~lking about''. The other day there was a service complaint from a
  client that called in on my phone day. There is no way that I would be rude to a customer. Amy Throop was on phones
  when both of these incidents occurred. Could someone call security to see who accessed theserec!Jr~f?, f\rlly_ha.,~,X!J.Rd.t
   an offhand remark about
t';.r,'' ~~-- ·•-=·~-, · · ·' '': ." :_7: . . ·• · ·. · ,
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   like'ahd notoe·h'~t~~~~g;(fntll l'dtt~:S.h:e has yelled at me on the floor and in her office where other employees have
   overheard. Chris is absolutely no help. I try to avoid management as much as possible because of the bullying,
                                                                                                                                            1
   harassment, intimidation, and discrimination. When I contacted you earlier in the year, it was because Amy was
   harassing me about being sick. She even wrote in my appraisal that if I call in sick or on emergency leave, then no one
   would be available to help with my work. They assign the harder work to me and get upset when other things are not
   done. Lord knows that I have never been afraid of hard work. During my time of Illness with the lung issues, from about
   09/2013 through 02/2014 I did fall behind. I am now in remission and things could go quite well If I was under
   management team that trusted me respected the quality of my work.

 I have absolutely nothing to lose. I have filed an EEO complaint and I am trying to hold tight until the mediation date.
 When the agency cannot protect employees from harassment and discrimination, it is just time to not be here any
 longer. Amy called me a liar about everything that she had said to me. I spoke with employees from her prior office,
 both retired and still working. The ones that retired all said it was due to her hatefulness and not simply because they
 were ready to leave. One is still working because she could not afford to leave and one transferred to the Burien office.
 She did the same things to these older women that she is doing to me. I have all of their names and phone numbers, if
 you would like to contact them. It is so sad. I have never been so embarrassed until the day that she yelled at me-
 "You get back in here. I am not finished with you yet, you cannot walk out on management. I was having a panic attack
 and I told her that I was feeling sick and needed to leave. The first panic attack, due to her harassment, I did run from
 her office without telling her that I was sick. I had never had a panic attack before and did not realize what was
 happening. Chris is so brass that he accused me of wanting Teri Simmons to supervise me because she has "Black"
 people in her family. He also said that he knows Leslie McAuley and Rose Bradford and they don't talk like me. All
 black people do not have to talk the same. I was simply appalled that he would say something like this. I could not
 believe my ears.

  Alan, if you can find a way to help me and stop this nonsense that management has going, I am willing to drop the EEO
 stuff. I don't have the energy for EEO, harassment, bullying, or embarrassment. I do need someone to hear my story. I
 would never Intentionally be dishonest about Chris or Amy. They are the future of this place, but they must learn to
 how to treat others even if they think that one might not be what they want. We had an employee quit last week,
 another is transferring to another region, and there are others who prefer to be somewhere else. Many are afraid that
 they will receive the same mistreatment that they have witnessed me receiving.

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I don't want to go through EEO and win a battle just to lose the fight. This is a teachable moment, especially for Chris.
He is a smart young man and has a ton of potential. I really appreciate his loyalty in siding with Amy but Amy is so
wrong. Amy needs a lot more training than Chris and it is Chris' job to help her and not allow her to bully the staff.

I trust you Alan. You stood by me when I requested to downgrade and for that I am eternally grateful. There has been
a many day that I wished that I had listened. Thank you for believing in me. The employees here and at Portland East
love me. I am so blessed to have friends that keep me up. I am just.not sure what Chris is after. I have told him that I
have absolutely no interest in management. I just want to do my work, help technically with others, and go home. I
tried to work with Chris on eliminating this EEO business but he just told me that they are not going to do anything for
me. He said that anything that I get must come through him. He is pretty self-assured but he must use It in a way that
makes a positive difference.



Sherril Artis TE/923
SulteSOO
805 Broadway
Vancouver, WA 98660
 (866) 605-8967 x20645
(360) 696-7944 fax




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   ... ·•;.
         '


Artis, Sherril
To:                                 Heim, Alan
Cc:                                 Hughes, Stephen; Detzler, Christopher
Subject:                            RE: I need help as soon as possible


 I will call you. Give me about 5 minutes.


From: Helm, Alan
sent: Wednesday, July 02, 2014 11:14 AM
To: Artis, Sherril
Cc: Hughes, Stephen; Detzler, Christopher
Subject: RE: I need help as soon as possible


What number would you like us to call you on?                          And, can we call you now or you can call
me at 206-615-3604?


 From: Artis,       Sherril
 Sent: Wednesday, July 02, 2014 11:12 AM
 To: Heim, Alan
 Cc: Hughes, Stephen; Detzler, Christopher
 Subject: RE: I need help as soon as possible


 Please do, Alan. I am so distraught. I am not sure why Chris is taking this approach with me. Thanks.



 Sherril Artis TE/923
   Suite500
   B.05 Broadway
· ,Vancouver, WA 98660
    ($66) 605-8967 x20645
   (3°S6) 696-7944 tax

 Fr6m: Heim, Alan
 Sent: Wednesday, July 02, 2014 11:08 AM
 To: Artis, Sherril
 Cc: Hughes, Stephen; Detzler, Christopher
 Subject: RE: I need help as soon as possible


 Sherril, I am really concerned about your health right now. Can Steve (AD) and I give
 you a call so that we can discuss your current distress and perhaps outline conversations
 between you, Steve, and Chris to move forward on?

 Alan


  From:       Artis, Sherril
 Sent: Wednesday, July 02, 2014 9:54 AM
  To: Heim, Alan
                                                                   1
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 Cc: Hughes, Stephen; Detzler, Christopher
 Subject: I need help as soon as possible


  Chris called me in his office today and told me that I told him on 04/28/14 that I don't get along with Amy because she is
· white. Not only is that a stupid racist thing to say but I am not that dumb. I have not had a nonwhite supervisor since
  1980, this is a strange time to decide that I don't like white people. He also said that I told him that I wanted Teri to be
  my supervisor because she has black people in her family. Chris is one of the most racially unconscious people that I
  know. I assumed that there were blacks in Teri's family but that is nothing that I would say and especially not to Chris.
  would not demean Teri that way. Teri is smart, humorous, knows her stuff, and has worked with a lot of people from
  East coast to West. She is a tough lady and she tells it like it is, unlike Chris who likes to manipulate the truth.

 This is stressing me to the limit. I am so jittery that I feel like I need to file for workmen comp. Please do something
 soon or I am going to have~ stroke or a heart attack. I am so upset with Chris that I cannot think. Please help I I




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Artis, Sherril
Subject:                     Please Help!


Alan,

I am the same Sherril Artis that you knew before. Same strengths and weaknesses but never dishonest. My upbringing
and my influences taught me better.

I am having the hardest time in this office. If it was not affecting my health and wellbeing, I have tried to deal with the
local manager but he has told me that I am a liar, rude, disrespectful, and don't communicate. I am so embarrassed and
ashamed that I am fearful that they are trying to fire me. I filed an EEO complaint and I want you to know this because I
would not want you to venture into unknown territory.

I want you to see how petty this situation has gotten. My husband turns 60 in August and our 28th anniversary is in
August: My children are having a party for us on 08/30/14 in Arkansas. I put in for leave for August, trying to guess
when the party would be. Well, I guessed wrong. I took off the two weeks prior to the party. I gave Amy Throop, a
leave slip and·told her my story. She said that I have to be back at work on 08/29, which is the day before the party.
am so ashamed to tell my children that I cannot make the one and only party that they are hosting for their parents.

I believe that Amy is deliberately sabatoging things for me. Last week, 06/11/14,one of my clients called in and was told
that I don't know what I am doing and that I don't know what I am talking about. The poor lady was so distraught that
she called me and told me that one of my coworkers don't like me. Management answers the phones on Wednesday
and Amy was on phones that day. I suggested to Amy that we contact security to see who accessed this lady's record.
Then on 06/17/14, which is my phone day, another customer said that he had called in and someone was so rude to
him. Alan, I swear that I would quit this job before is displayed rudeness to any of our customers. The second guy, I did
access his record and change his address, this is just now how I conduct business. I am afraid that they are trying to fire
me or prove that I am incompetent. The social security numbers for these two people are XXX-XX-XXXX and 538-62-
3333.

I have spoken with several e_mployees that work in The Dalles office, where Amy managed before. Hopefully you are
aware that many of these employees quit or requested transfers. I have spoken to five of these employees and I was
appalled by the abuse that they took from Amy. Yelling at them, treating them like children, forcing cases to be cleared ·
without proper documentation. These are the exact things that she has done to me. Amy and Chris yelled at me on
05/15/14 to the point that it frightened the entire staff. We now have a white noise machine to keep their bad
behavior from being overheard outside of their office. I wish they had done this before 05/15/14 because now I feel like
a freak. The staff member from the Dalles that I spoke with are Suzanne Kleeskens, Vandee Mauser, Roberta
Schweller, Debbie Sanguras, and W~nda Andrillon. I can speak with them and find out if it Is okay for me to share their
contact information.

Amy has been so brass with me that she has told me that I need to just do the work until I leave or retire. That was the
last that I was going to take of her. She constantly tells me that times have changed as though I am too old to know
what is going on. She also tell me that good work that I produce is expected because of my time and experience. She
makes me feel so old I There is something very wrong going on and it Is not just unfair to me but for the agency. I am
getting paranoid and it is literally making me sick. I have had two panic attacks while trying to have a conversation with
her. She is vicious I The sad thing is that Chris believes her. Even with compromised work integrity issues that she has
forced on us. I have asked that he supervise me or let me be supervised by someone else. I have even offered to
downgrade to a CR so that I could have another supervisor. This situation has been out of control since last fall. I sent
you an email in January asking if you could assist me in getting something else to do. I will work on the leave situation
through the union but I need immediate assistance from somewhere on this harassment and intimidation.


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My EEO mediation is scheduled for 07/08/14. I don't want to take off untii then but I have no leave. Don't take my
word for this fiasco. Please have someone to contact the prior Dalles employees, use security to investigate those
disgruntled customers, read my appraisal about if I call in sick, or speak with some of the employees here in this office.

I should get a waiver on my health Insurance and just retire. I didn't want Amy to force me out. I believe that if we
don't resolve this it will just become a problem for someone else. If this had been taken care of in the Dalles, then it
would not be a problem In the Vancouver office or for myself.

Sherril Artis




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Artis, Sherril
From:                        Artis, Sherril
Sent:                        Wednesday, December 11, 2013 11 :51 AM
To:                          Winder, Shane
Subject:                     Information on closed fraud case


Shane,

I am attempting to write up a job enhancement where I am allowed to work on the development of fraud cases from
our FITS system. Maybe for the Vancouver and Portland area. I am in no big hurry but I would like to get some
information from you. I was involved with the fraud case of the doctor from Kaiser who married my SSI claimant. Do
you remember this case? I kept the information and the newspaper article for some time but have since disposed of it.
Do you happen to have anything that I can refer to on this case? I am making my request to Regional Office.

It may not work out for me but it is definitely not going to work out if I do not ask.

Sherril Artis TE/923
Suite500
805 Broadway
Vancouve~ WA 98660
 (866) 605-8967 x20645
(360) 696-7944 fax




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-im,;··.fJJ..,                                           (3,355 lffead) - sherril.a1is2015@)m00.com- Yahoo Mal



         FW: Retirement of Senior Executive in the Seattle Region - UPDATE

         From: Artis, Sherril (sherril.artis@ssa.gov)
                                                                                                                      ' ) Lt#i_.,
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                                                                                                                                             , -·
                                                                                                                                  /·.
         To:       sherri1.artis2015@yahoo.com
         Date:     Monday, March 16, 2015, 06:35 PM CDT




         from: Heim, Alan
         Sent: Wednesday, December 04, 2013 11:41 AM
         To: Artis, Sherril
         Subject:. RE: Retirement of Senior Executive in the Seattle Region - UPDATE


         That's the best reason for me to stick around a little longer Sherril.                                      Any time you
         need me, I'll be there.   Alan


         from: Artis, Sherril
         Sent: Wednesday, December 04, 2013 11:14 AM
         To: Heim, Alan
         Subject: FW: Retirement of Senior Executive in the Seattle Region - UPDATE


         I know that you really doing this for me. You knew that I needed the security of knowing that you were still in the fox hole with
         me.

         Sherril

         from: IWA FO Vancouver
         Sent: Wednesday, December 04, 2013 11:11 AM
         To: #SE WA 923 All
         Subject: FW: Retirement of Senior Executive in the Seattle Region - UPDATE




         from:     11 SEA ORC
         Sent: Wednesday, December 04, 2013 8:28 AM
         To: #SE Regionwide Vacancy and Selection Announcements
         Cc: #OCO Exec RCs Personal Bxs; #OCO ARC MOS; Toney, Rubie; Del.aittre, David J.; Morado, David; Veiling, Joseph;
         #OCO Exec Front Office
         Subject: Retirement of Senior Executive in the Seattle Region - UPDATE


         All Seattle Region Employees,

         I am very pleased to announce that Alan Heim, Seattle's ARC MOS, has agreed to my request to
         delay his retirement until June 30, 2014. Alan's planned January 3 departure would have come at an
         especially critical juncture because of several other retirements in key positions that are happening at
         the same time. These retirements, along with other staffing losses in Regional Office components,
         have made it plain that Regional Offices have to develop new ways to provide services more

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                                                  (3,355 lll'Tead) - sherrll.artis2015@)f:lhoo.com- Yahoo Mall


             efficiently in the Mure. As we work towards developing these new models of providing service, I feel
             that Alan's experience and leadership is vitally important to get us through the next several months.

             While he was anxious to begin traveling and engaging in a more leisurely lifestyle, Alan also did not
             want to leave his post at a time of such transition. I have known Alan for many years and have always
             appreciated his sense of dedication and service. Please join me in welcoming him for an extended
             stay.

             Stanley




                                                                                                                     ?I?
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This is the grievance that Chris used to force my retirement. He told me
and the Union Rep that he would not sign off on this grievance until
after I retired. I wanted to come back as a rehired annuitant to a Social
Security office in the Dallas Region. A grievance for insubordination
wbuld not show favorably for me in a new region. I changed my
original retirement date from May 1, 2015, to March 31/2015. I was
praying that someone from EEO or Social Security management would
help me to save my job.

I hi;ld never been reprimanded in my 39-year career. I could not fight
with Chris Detzler any longer. H had defamed my name and character
~Y telling the Regional Office that I was racist and insubordinate. Why
was my in~ubordination and racism not in my personnel folder?
Because it was not true. Chris Detzler should be removed from the
agency due to his hatefulness toward minority women.



Chris Detzler forced my retirement! I would never retire freely 9
months before I could get health insurance or before I secured my 40
years of service. It just would not make sense. I had to go 6 months
without health insurance coverage. I had to pay out of pocket. If I
planned to retire, then I would have ~t least waited. I always believed
that I would work until I was 62 years of age and have the option of
working for 3 additional years as a rehired annuitant.



Greivance and forced retirement Chris
Detzler
            Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 55 of 90




                                          SOCIAL SECURITY

                                                                             Vancouver Field Offic~
                                                                      805 Broadway Street, .Suite 500
                                                                             Vancouver, WA 98660


Date:          February 20, 2015

To:            Sherril Artis, Technical Expert

From:          Chui Shirts, Operations Supervisor

Subject:       Letter of Reprimand

This is notice that I am reprimanding you effective with the date of this memorandum for failing to
treat a coworker, Operations Supervisor Teri Simmons, with courtesy and consideration during a
conversation on February 12, 2015.

                                            Background

On February 11, 2015, you emailed Ms. Simmons about feedback reports received in the office, and
she replied to your email indicating management would consider your recommendation about the
reports. On February 12, 2015, I was at Ms. Simmons' cubicle when you approached and asked to
talk to her in private. Ms. Simmons advised you that if it was about the emails she did not wish to
discuss that issue with you anymore.

Despite this, you continued to try to discuss the email with her. You stood up and began speaking to
Ms. Simmons in a raised voice that was loud enough for other employees in the surrounding
cubicles to hear, and you began commenting on Ms. Simmons interactions with other employees.
She asked you to leave her cubicle numerous times, but, initially, you did not oblige her request. Ms.
Simmons then ordered you to leave her cubicle, which you did. When you were several feet away
from her cubicle, you turned and talked loudly in her direction, saying that you were· going to talk to
me about this.                                                          ·•
                                               Discussion

You and I have discussed the importance of treating others respectfully and you have had similar
conversations with other members of management. The Social Security Administration (SSA)
requires all employees to treat their co-workers with courtesy and consideration while they are on
                                                                                     Artis Reprimand
                                                                                           Page 1 of3
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     duty. Employees must deal with each other in a professional manner and with courtesy, dignity, and
     respect. These expectations are reflected in various policies and rules, including Section 1.6 of the
     Annual Personnel Reminders and Article 3 of the 2012 SSA/AFGE National Agreement (the
     Contract).

     Your behavior towards Ms. Simmons did not demonstrate the courtesy and consideration you must
     show your coworkers. Also, I do not think it reflects the professionalism I know you strive for. Even
     though you were frustrated by the situation, it was not appropriate for you to raise your voice to Ms.
     Simmons and to disregard her request for you to leave her cubicle. Additionally, it was not
     appropriate for you to shout in her direction after you had walked away, disrupting your coworkers
     in that part of the office.

                                                    Decision

     For the reasons specified above, I have decided to reprimand you to change your behavior going
     forward and to promote the efficiency of the service we provide.

     In the future, when you find yourself in a situation where you feel frustrated or you feel like you
     have lost your patience with someone else, come and talk to me. It does not matter if you are dealing
     with a workload issue, a challenging customer, or an interpersonal issue with a coworker. Do not
     risk losing your temper by continuing the conversation with the person with whom you are
     frustrated. 1bis is important because further misconduct on your part may result in a more severe
     disciplinary action - up to, and including, removal from your position.

                                                Notice of Rights

     If you disagree with this official reprimand, you have the right to file a written grievance through the
     negotiated grievance process in accordance with Article 24 of the Contract. You must file the
     grievance no later than fifteen (15) working days of the date you receive this official reprimand. You
     have a right to union representation. You may contact your local union representative if you have
     questions about how to file a grievance.

     If you believe that your reprimand was based on discrimination, you have the right to file an EEO
     complaint. To do so, you must contact an EEO counselor within forty-five (45) days of the effective
     date of this action. You may contact the Civil Rights and Equal Opportunity staff at:

                                        Social Security Administration
                                     Office of the Regional Commissioner
                                      Civil Rights and Equal Opportunity
                                    701 Fifth Avenue, Suite 2900 MIS 291A
                                           Seattle, WA 98104-7075
                                                 (206) 615-2679


                                                                                           Artis Reprimand
                                                                                                 Page 2 of3
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·)-   '     ~   '




      You ha.ve the option of filing a grievance under the negotiated grievance procedure or a formal
      complaint of discrimination with the Agency, but not both.

      If you think it would be beneficial to you, free counseling services are available through the
      Employee Assistance Program (EAP), a service provided for employees who are experiencing
      personal or work-related problems. All EAP counseling sessions are confidential and assessment is
      free. You can contact EAP 24 hours a day, seven days per week by calling 1-800-869-0276.

      A copy of this reprimand will be placed in your electronic Official Personnel Folder (eOPF) and
      your SSA-7B extension file for up to 1 year. Your reprimand is effective on the date you receive this
      letter.




                                                   Chul Shirts
                                                   Operations Supervisor


       I acknowledge receipt of this document; my signature does not signify agreement, merely
       acknowledgement of receipt.


      ~p\o-yu <'&US€-J .\,o S\1"'-,/
          (Signature)                        (Date)

          cc:       SSA 7B Extension File
                    eOPF




                                                                                          Artis Reprimand
                                                                                                Page 3 of3
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                         STANDARD GRIEVANCE FORM
   NAME OF MPLOYlzE                                                                              0 FICE TELEPHONE
   SherrJt Artis ·                                                                               866-605-8967 x20645

                                                         POSmON                                  GRADE
                                                         SSITE                                   GS-12
                                                                                                 REP TElEPHONE
                                                                                                 888-683-4303 X10252
                               ~Nee. WHAT ARTICLE:($) OF THE AGREEMENT ARE INVOLVED? .

   I would like to enter this grievance at Step 2, with District Manager Chris Detzler. I don't believe that a
   Supervisor has the authority to grant me the relief I have requested, s~own below.
                                                                                     . ..    ~   ..


  On 02/20/2015. I received a letter of reprimand from Supervisor Chui Shirts. The substance of this
  reprimand involved a conversation I had with Supervisor Teri Simmons on 02/12/2015. I feel that Ms.
  Simmons' conc:tuct and behavior escalated what should have been a ·r~utine··worldoad discussi.on. and
  I am unfairly being blamed for it The articles of the National Agreement that 'Nef'e violated are:
   Article 3, Section 1 Employee Rights/ Rijght to Unionism
   Each employee shall have tb.c right to join or assist the Union, or to refrain from S\l~l_l actj~it)', freely and without
                                                                                            of
   fear of penalty or reprisal, and each employee shall be protected in the exercise such right.. .

      This office seems to have a problem retaining an on-site Union rep. and I believe this is due to
   management animosity and a conscious pattem of increased harassment and pressure on those
   employees who have volunteered to fill this position. Miguel Rarnos stepped down after only 4
   months, and I have already notified AFGE that I, too, must step away from the position. Prior to
   serving as the alternate rep, I did not experience this type of negative attention from my supervisor or
   other members of management. Teri's comments and demeanor durir.,g 01,.1r conversation make it
   clear that she jumped to the unlikely conclusion I might be there in my.Union capacity, and that she felt
   threatened by that.. What should have been a professlonaJ, routine work related conversation went
   downhill from        the
                      point when she asked me if I was there in my Union capa~ity. ·

   Article 3, Seetion 2 Employee Rights/ Personal Rights
   The parties agree that in the interest of maintaining a congenial work environmen~ Agency employees will d~al
   with each other in a. professional rn9lmer and with courresy, dignity, and respect. To that end, all Social Sccut'ity
   employees should re&ain from coercive. inthnidAtin~ loud or abusive behavior. The parties further Qgrte that
   bullying is prohibited in the workplace and wiJI not be tolerated.

      I will cite the same article that was fisted in the reprimand letter, and· tum it back on Teri. I believe
   that it Is a basl~ supervisory skill to show patience and active listening when engaging with your staff,
   even if she may have felt frustrated. It is even fair to say that my interest In and pursuit of the subject
                                   Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 59 of 90
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       matter (overpayment waiver procedures, manual notices and ensuring staff knowledge and
       consistency) could have been perceived as both a productive use of my time and exemplary level TE
       performance. Although it falls outside the bounds of this grievance, I will note that she has had slrn ilar
       ongoing difficulties with other employees_ in what should be mundane workload/personnel Issues.

       Article 23. Section 1 Disciplinary and Adverse Actions
      The parties agree to the concept of progressive discipline which is designed primarily to co~ct and improve
      employee behaviof. A common pattern of progressive discipline is reprimand~ short tenn suspension, long term
      suspension and re111oval. Any of tbese steps may be bypassed where management determines by the severe nature
      of the bcha-vior that a lesser form of discipline would riot be appropriate. The parties further agree that normally,
      discipline should be preceded by counseling and assistance including oral warnings which are informal in nature
      and not recorded. Counseling and warnings will be conducted privately and in S\IC~ a.manner s6.$S to.avoid.
      embarrassment to the employee.                                                      ··               ·

         I have not had any discu~ion with Chui or any other member of management
      regarding being unprofessional or disrespectful. In my appraisal, .It states that
                                                                                     . ..
                                                                                          I am
                                                                                             .
                                                                                               professional with
                                                                                               •.                  ·,

      the pubDc and coworkers. I have had some encounters with the ADM; Amy Throop, and the DM,
      Chris Detzler, where I was treated less than professionally and ralsecf my voice in response to theirs,
      and amid accusations of racism, being basically incompetent, rude, disrespectful. and a liar. I have an
      EEO complaint pending on these types of conversations ·and I am not sur&.lf-they have a place here.
      An lnformatiOn Request will be submitted separately regarding management's allegation that such
      past conversa1ions occurred. I don't feel that progressive discipUne has been followed in my case,
      which points back to the Article 3, Section 1 violation.
                                                                                                        ~ •   ,"   ~I




      This is the content of the 2/12/15 conversation as I recorded it in my notes the following day. I have
      spoken with the employees that normally are seated in the vicinity, and. most either did not hear the
      conversation or were not in the office at the time. Only one emplayee ·overheard the conversation, but
      states that she prefers not to be involved.

             •          Teri-If you are here to dlscu~ that email, it is not up for cfisc9_ssiq~'.   .C~µI (my supervisor) was at
                        her desk.                                                ·           ··
             •          Sherril-I would like to talk to you. Chui got up to leave.          . ..
             •          Teri-No, if we are going to discuss this, then Chui you need to be here. I sh~t.dd have realized that
                        she was not io the mood and left but I made the wrong decision         and
                                                                                                 cionti~ued the discussion.
             •          Sherril-Now t am not sure where to go with the conversation. ·t feel °lhat"rerl is setting it up as a
                        hostile situation, when all J want to do is to let her know that f meant no harm. I tell her that
                        when I came back from vacation I was being asked by CRs about this notice issue.
             •          Teri-Are you here a TE or a union rep?
             •          SherrH -I am here as a re
             •          Teri-You just go on and on and on about things and will not let them go. Allegation of voice
                        raised-no voices raised until this point.
             •          Sherril-That may be true but that is not going to change me right now. You are not going to talk to
                           Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 60 of 90
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                 anyone that has broken any-rules or stands up for themselves. This can be very stressful and
                 belittling.

     RELIEF SOUGHT

     I would like the reprimand letter to be retracled, and for the letter and all references to It and to the events of
     the day in question to be removed from my 78 personnel file. I would also like to have a discussion with
     supervisor Teri Simmons with the intent being to repair and improve our ~rk relationshlp. to be mediated by
     a neutral third party from outside of SSA. It is rny hope that this type of facilitated conversa1ion will not only
     help us, but will giv her some insight into her communication style and _relationships with all employees.
                                                                                              al document, pef80l'lllel record, or

                                                                                                                          DATE




               FORM SSA-2048-U3 (I



                                                                                         j NAME oF EMPLo~e
                 DISPOSITION OF GRIEVANCE
                                                                     STEP 1 DliCISION BY
  TITLE                                                       I SIGNATURE                                                    I DATE

  DECISION (Wllar dllP(lllllon 11U111mWY 1te1e 111d checl< Diode i, n81TBtll4\ altacMd)LJ                        "

      I    •
      Gnevance entered at Step 2.

                                                                                                                                 ,   ..
  RECEIPT ACKNOWLEOGED SY                                                                                            DATE
  EMPLOYEE: OR.
  UNION REPRESENTATIVE
  LI GRllNANCE ru:SOLVED J I PROCEED TO N'eXT STEP                              I l ORAL PRESENTATION REQl,JE~D                      ·n   PHOTOCOPY TO UNION
 AS NE1;;D1:1.J. DISIGNATATE
 STEP 2 OFFICIAL
                                NAME
                                      .                                                       LOCATION    ,,                 .TELEPHONE


                                                                         STEP 2 DECISION BY
  T1Tu~ Chris Detzler, District Mgr

  PERSON SERVED
                                                               ,,~TUREQ
                                                                   ;;;/ ~=<.,~
                                                                                         -
                                                                                                                              AE
                                                                                                                              DAiE
                                                                                                                                     ,pr.     2. 20,s
           Laura Novakoski                                        •    MAIL                  Cl    OIRECT
                                                                                     •
  DECISION (eftler dlaposltlan 111111mart hare end cnlCk block If narralhl& ldlactledl
          Relief granted. I have removed the reprimand from Ms. Artis' eOPF and 7B folder.
          Ms. Artis retired on 3/31/15. Therefore, it is no longer possible to schedul« a mediation.

  RECEIPT ACKNOWLE0GED BY
                                                        c~u                  '
                                                                         V\ex-f-)                                            I DATE
                            Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 61 of 90
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                 me like that.
          •      Teri-I have never talked to you lfke this.                                ·. - .- ; . ·
          •      Sherril-that is true, but I have heard you talk to others like that' ·
          •      Teri-the way I talk to others is none of your business. (raised voice)        ·· · ·. ·
          •      Sherril-No, It is not my business unless you talk to them like that in my presence. Stop pointing
                 your finger fn  myface.
          •      Teri-pointing her finger-You get out of my cubicle, Chui, you better handle this. (r.aised voice)
          •    · Teri comes out of her office and yells at me not to talk to her. I was not talkln1 to her. Chui had
                                                                                     to
                 said to me that he ilnd I would disQlss this and I was responding him. I n•er suggested
                speaking to Chui about this.                                            ··
          •     I raise ~Y voice and I said, you are the supervisor, If I cannot talk tb you who sh~uld I talk to? This
                was the ~ time that I raised my voice.
          •     Teri yells afehul' again and points her finger-Chui you better handle that.

   To deal specifically with the information alleged in the reprimand:

          •      I did not "stand up• up at any point- I approached the cu~icle where Teri and Ch_ut were seated, and
                 remained standing throughout the conversation. The allegation     that i
                                                                                      stoo'd     up. is
                                                                                                  one example of
                 how this episode is being falsified to shift blame onto me for esca.latirig the situation. They both
                 stood up ·at some point during the conversation.                    · ,:.     · · · '· · ·

          •      I was also not the one to initiate a louder tone or hostility. As is clear from my record of the
                 conversation and from my emails, I was consistently calm and focused on the SSI technical Issue, in
                 contrast to Teri. I approached her that day in a valid effort at gooQ communication and coriclliatlon,
                 and her inept and hostile response was truly baffling to me. I orily r~lsed my votce at the end of the
                 conversation in response to comments directed at me as I was already walking away and was farther
                from the cublde,
                                                                                      '.
          •     I have checked with nearby employees, and only one confirmed that they overheard the
                conversation; therefore, I don't believe that other employees were "disrupted." Just because a loud
                conversation has,thepote~tiaJto be disruptive, again this should not be presented as a fc1ct nor.as
                my fault.
                                                                                               ,:•.'


          •     Chui and I have never discussed the importance of treating others resp~ctf1..1lly, I have only received
                this type of feedback in group discussions when it was Just a general topic.

          •     I was not frustrated by the email situation at all, I just wondered what is my job, if employees are
                informed not to discuss technical issues with me and I am not able t~ provide feedback to
                management on those issues. Teri should have recognl~ed that my focus was an entirely
                appropriate procedural question that is part of my job as a TE, rather than becoming defensive and
                framing it as some kind of c~mfidential personnel issue. The culture rn this office is to press hard on
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Artis, Sherril
From:                         Artis, Sherril
Sent:                         Thursday, February 12, 2015 9:47 AM
To:                           Artis, Sherril
Subject:                      FW: Feedback Reports on Quality




From: Simmons, Teri                       .
Sent: Thursday, February 12, 2015 8:43 AM
To: Artis, Sherril; #SE WA 923 Mgmt
Subject: RE: Feedback Reports on Quality

Sherril,

This is not your issue or your decision. I told you that we as in management will
address the issue.

Thank you

'Teri Simmons
Oyerations Suyervisor
'Vancouver, 'W.'A. 923
(866) 931-9172 ext. 20625


From: Artis~ Sherril
Sent: Thursday, February 12, 2015 8:41 AM
To: Simmons, Teri; #SE WA 923 Mgmt
Subject: RE: Feedback Reports on Quality

The information did not come from the employee with the write up. It had obviously been discussed with others. In
order to be an effective TE and CR, it is critical that this type of technical write up be shared with aI1.· I mentioned to
Amy just a couple of days ago that a notice was not required on an admin waiver approval. Not knowing that the office
had already been written up. From my take on this, there is a conflict in policy. There at least need to be a reference in
http://policynet.ba.ssa.gov/poms.nsf/lnx/0900803205 that a manual notice is required for admin waivers. The POMS
reference that given for when a manual notice is required still does not address ad min waivers. Central Office needs to
know that this policy is not clear.


I now understand what office policy is regarding these write ups and the discussions between the CR and supervisor.
will leave it at that, but employees are going to discuss work and feel technically inadequate when something of this
magnitude becomes an issue. We approve many ad min waivers, and if a manual notice is required, that is a big change
in how we process this workload.

I will let this be and refer the CRs to their supervisor.

Sherril



                                                             1
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From: Simmons, Teri
sent: Thursday, February 12, 2015 7:28 AM
To: Artis, Sherril; #SE WA 923 Mgmt
Subject: RE: Feedback Reports on Quality

Thank you for the information. The quality reviews are a discussion between the
supervisor and the employee. I am not sure why the employee is discussing it witti
you as we have informed them to let us know if they have questions.

We will look into the information you have shared. We always take into consideration
what is appropriate to share with the TEs.

'Teri Simmons
Operations Suyervisor
11ancouver, 'W.'A. 923
(866) 931-9172 ext. 20625


From: Artis, Sherril
Sent: Wednesday, February 11, 2015 4:34 PM
To: #SE WA 923 Mgmt
Subject: Feedback Reports on Quality

It has come to my attention, as a TE, that we received a feedback report where we failed to
issue a manual notice on an administrative waiver. It has been policy that waiver approvals
do not require manual notices. It is not listed that the administrative waiver is an exception to
this rule. Even though this was a feedback report on one person's actions, it would benefit the
entire staff if this information is shared. It might be a good idea to share all feedback report
information with the TE's, as there may be a possibility that the write up can be rebutted or
we may be able to show that the policy is unclear. Feedback information is a great
opportunity for everyone to learn.

http://policynet.ba.ssa.gov/poms.nsf/lnx/0900803205


Sherril Artis TE/923
TEAM-Together Everyone Accomplishes Morel




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                                                SOCIAL SECURITY
                                                                ¥
                                             805 BaOADWAY ST, SUITE 500, VANCOUVER, WA 98660
                                               FA><: (360) 696-7944 PHoNE: (866) 605-8967




         Fax
        To:              Laura Novakoski                          From:        Vancouver SSA - Chui Shirts

                         503-326-2898

                                                                  Date:.       April 1, 2015

                         Sherril Artis                            CC:


        XUlgent                                • Pleaee Conllnent          X PleaSe Reply            • Please Recycle

        • Commanta; Please sign the grievance form to acknewledge receipt and that the grievance is resolved and
        retum to me. Thank you.




        Important Note:
        This message is illtended only for the use of the individ11al or entity to which it is addressed. It may contain information
        that is priviletccl, confidential and esempt from di.scl.,.urc under law. If the reader or this message is not the intended
        recipient or the enaployee or agent responsible ror delivering the message to the intended recipient, you arc notified that
        any ditsemination, dittn'bution or copying of thla communication i, strictly prohibited. If you have received this
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                                         Social Security Administration VMcouver, WA 98660
                             Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 65 of 90                                     t'.UUb




                                                                        STEP 3 DECISION BY
                                                                  SIGNATURE                                DAE
PERSON ERVEO                                                                                               DATE
                                                                       •     MAIL             •   DIRECT
DECISION (Ollllr dltpOtllc>n l[lllfflmary trere end dlec:k block If Rll'lall¥e llllael'lad)




RECEIPT ACt<NOWLEDGl:D BY                                                                                  DATE
EMPLOYEE OR
UNION REPRES!:NTATM:
       GRlevANCE RESOLVED                               VES                                                   PHOTOCOPY TO UNION
                                                                                                             or~POslTION I.EYE\.:


             FORM SSA-2048-U3 (7-88)




                                                                                                                                TOTAT. P 1'11'1~
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SSA/EEO misinformed the Commissioner on how long it took for them
to grant me~·:hardship. My doctor provided me with the letter on
March 10, ibll. I requested the hardship transfer o 03/16/2016. On
June 16, 2011, I followed up on my initial request to be accommodated.
My vision-Wis not good. After four months and a minor car wreck, I
solicited th~ :~ssistance of Beth Hidano, Are~ Director. My request was
granted four months later.

I assume that the Seattle Region wanted the Commissioner to believe
that they were timely in granting accommodations.
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 ~

·,

     Artis, Sherril
     From:.                        Humphreys, Sarah
     Sent:                         Friday, June 07, 2013 12:58 PM
     To:                           Artis, Sherril
     Subject:                      RE: May 10, 2013 email to Acting Commissioner Carolyn Colvin


 -pear Ms. Artis:

     I just wanted to let you know that I've let the Seattle Region Civil Rights and Equal Opportunity Manager know
     that you felt that the EEO Counselor talked you into withdrawing Case No. SEA-11-0626. We want to niake
     sure that all EEO Counselors follow proper procedures.

     I also wanted to respond to your question about Acting Commissioner Colvin and whether she might have
     worked in Little Rock in the 1970s. As far as I'm aware, Ms. Colvin was working in the Baltimore area in the
     1970s and 1980s, so she probably wasn't the Carolyn Colvin you knew. Wouldn't it have been a small world if
     she had been!

     Yours sincerely,

     Sewd
     Sarah Humphreys
     Senior Attorney
     Office of Civil Rights and Equal Opportunity
     Social Security Administration
     Telephone: 410-594-0265



     From: Artis, Sherril
     Sent: Friday, May 31, 2013 7:33 PM
     To: Humphreys, Sarah
     Subject: RE: May 10, 2013 email to Acting Commissioner carolyn Colvin

     Sarah,

     I did not expect a response to my email. I really appreciate your time but it was definitely not expected. I am
     sure that everything looks great according to agency policy and guidelines-on paper. I don't want to make a
     big deal out of my situation because I do qualify for retirement. I qav~ stepped out of trying tp seelf ailY further
     advancement with the agency and that is my choice. ,f s~ught three different positions after I filed this        ·
     complaint and then I realized that management was not going to allow it. There was less than favorable
     wording in my appraisal that I had never experienced before. I filed a retaliation complaint in which the EEO
     representative basically talked me out of pursuing because she felt that I had been transferred to another office
     and that there was no need to pursue this aspect. I understand that she was just doing her job by trying to clear
     out cases but it made me feel like management's bad behavior was okay and that the important thing was that I
     was out of there. I told her repeatedly that I did not feel comfortable withdrawing. I finally gave in and
     signed the withdrawal form. I know now that was a big mistake. My attorney later told me that retaliation
     would have been easier to prove. I believe that the EEO rep talking a complainant into withdrawing should be
     eliminated. Unless a complainant initiates withdrawal of an EEO complaint, then the representative should not
     be allowed to initiate that conversation with the complainant. This action by the EEO representative served me
     an injustice. I would have never withdrawn this complaint without the prompting of the EEO representative.

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 When the harassment started on the job, I went to the manager of the office to voice my discomfort. I asked
that he hold a meeting with the ADM, the OS and I so that we could figure out what was going on. He did
absolutely nothing but allowed the ADM and OS to continue. The ADM threatened me by telling me that the
new OS would be tasked with removing my leadership image. The OS stooped to the level of smacking a clip
board in his hand when he approached _my desk. I am assuming it was for intimidation. It was so
uncomfortable. At my age I believed that I had no choice but to file an EEO complaint. I was not as young as
the others and did not have the time to redeem myself and get promoted. I was once a manager and ADM but
stepped out due to the health of myself and my mother. This agency had always been so good to me and my , .
family that it never crossed my mind _that I would not be able to work myself back into a management
position. I attempted to get a temporary hardship to care for my mother who had cancer ~d the manager
basically ignored the request. I had to use all of my leave flying back and forward to Arkansas until I :finally
submitted a permanent transfer. The permanent transfer request got me the temporary transfer that I had sought
a year earlier. I have witnessed employees being able to care for sick relatives, getting training when they
changed positions, being allowed to process workload that would gain them the job knowledge that would allow
them to mentor and become proficient in their jobs. The ADM transferred her girlfriend to another office and
another employee was transferred so that her sister could be promoted but I could not go and help out with my
dying mother. I was in shock that the agency that I have spent a lifetime working for and loved, turned their
back on me when I was in need. The manager wrote in the EEO complaint that I did not want to be
supervised. ·•He had never mentioned anything like that to me before. The negative items in my appraisal had
ne:ver been mentioned to me before the appraisal. It sounded like retaliation to me. lfthere was behavior that
I needed to correct, they should have discussed this with me, not mention it for the first time in an appraisal or
during an EEO investigation. Yes, I dropped the EEO complaint after they only offered me 25 hours of over
300 hours of leave that I had used and refused to apologize or to admit to any wrong doing.

I have always been a good employee. I have received awards and accolades all 37 years thatl have been with
this agency. I would have never dreamed that I would have a need or have the audacity to file an EEO
complaint. The behavior of managements was literally making me ill. I could not control my blood sugar and I
would sweat with each encounter that I had with them. I thought they were going to fire me. Real or imagined
I was in a horrible position. IfI had gotten some of the younger employees to testify, there were aspects of the
complaint that the attorney believed that we could have prevailed. Saying that retaliation, harassment, or
discrimination is against the law and enforcing it are two separate issues. An employee living with the fear and
intimidation is another issue. There was no way that I would put them in that position. I did take advantage of
the EAP program and got a lot of my anguish out on the table but my health and sense of worth has suffered. I
am an old, sick, black woman but I am all that I have. I no longer have the self-confidence to assert my
position. I did not plan to rehash this horror prior to leaving the agency. Filing the EEO complaint was a big
mistake. My loss was too great for me to ever be the same person again. My daily objective is to mind my
own business, keep my head down working, and not to get fired. My objective when I retire is to meet with the
Regional Commissioner here .and let him hear my side of the story and hopefully get some changes made with
training for employees that downgrade, how to resolve soffie issues without going through the EEO process, and
training for managers (interpersbifal skills/communication/EEO withdrawals) .               ·                 ·

Again, thank you for the time that you spent looking this over. I really did not mean to use anyone's
time. Keeping a steady reminder of what will be tolerated is the only thing that can be done. I believe that
most managers are wholesome and fair in their dealings with employees. I also believe that they appreciate the
work oftp.eir staff and give individuals the hope for opportunity. It is those few who either lm_ow exactly what
they are doing or have no clue at all that destroys the advancement and mental health of some. We have to
believe in the system that we have, even if it is flawed. It is all that we have. If intimidating, bullying,
ignoring, and excluding are not discrimination or harassment we are all in trouble. It is not about winning a
case; it is about making it stop. I just wanted it to stop and I should not have had to file a complaint that
destroyed my career or to leave that office under duress.

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I once worked with a Carolyn Colvin back in the 1970's in Little Rock Arkansas. Would she happen to be the
same?


Sherril Artis TE/923
H you don't stand for something, you will fall for anything···




From: Humphreys, Sarah
Sent: Friday, May 31, 2013 6:28 AM
To: Artis, Sherril
Subject: May 10, 2013 email to Acting Commissioner Carolyn Colvin

Dear Ms. Artis:

Acting Commissioner Carolyn Colvin received your May 10, 2013 email responding to her Equal Employment
Opportunity (EEO) Policy Statement broadcast. Since Equal Employment Opportunity (EEO) issues are within
the Office of Civil Rights and Equal· Opportunity's (OCREO) responsibility, the Acting Commissioner's office
forwarded your email to OCREO for a response.

In your email, you alleged, among other things, that the EEO complaint system is flawed and that "fear,
intimidation, favoritism, exclusion, and plain old I have the power and you don't can be the norm for some of
us." You suggested that it would help to have a hotline where employees can report unfairness, exclusion, and
harassment.

I want to assure you that we are committed to creating and maintaining a work environment that is free from
any form of discrimination, harassment, or reprisal. While we do not yet have a hotline, you may always report
unfairness, exclusion, harassment, or any other alleged discriminatory actions by emailing IISEA ORC CREO or
calling the Region X CREO Manager at (206) 615-2674.

Because of the concerns you expressed about your experience with the EEO complaint process, we reviewed
our records to determine whether we properly haridled your complaints. Our records reflect that in April 2010,
you filed a formal EEO complaint (Case No. SEA-10-0322) alleging race, sex, and age discrimination and a
hostile work environment. OCREO investigated your allegations and you received a report containing the
results of the investigation. Region X management did its own investigation into your hostile work
environment allegation but found no evidence of a hostile work environment.

You requested a hearing before an Equal Employment Opportunity Commission (EEOC) administrative judge
(AJ) on SEA-10-0322. The EEOC AJ reviewed all the evidence in your case in the light most favorable to you,
but concluded that you had failed to establish any genuine issues of material fact requiring a hearing and
granted the agency's Motion for Summary Judgment. You subsequently appealed the AJ's decision by filing a
civil action in U.S. District Court, but later voluntarily withdrew your civil action.

Our records also reflect that in June 2011, you sought EEO counseling based on management retaliation and
failure to accommodate your reasonable accommodation request for a transfer to the Vancouver, Washington
Field Office (FO) (Case No. SEA-11-0626). In July 2011, management approved your reasonable
accommodation request and transferred you to the Vancouver FO. You subsequently asked the Seattle Civil
Rights and Equal Opportunity (CREO) Manager whether you needed to sign anything if you decided not to
pursue SEA-11-0626. The CREO Manager discussed the withdrawal process with you and sent you the
                                                         3
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                                                                                                          "'··
withdrawal form. You talked with an EEO counselor four days later and said that you were going to withdraw
your complaint. On July 20, 2011, you faxed the EEO Counselor a Withdrawal of Complaint ofDiscrimination
form, saying "I have decided to withdraw my complaint. Thanks for all of your help, time and patience."

Based on our review of your concerns and the actions in response to your EEO complaints, we are confident
that you had a full and fair opportunity to present and prove your allegations and that we took proper action to
address your concerns.

We hope this information is helpful.

Sincerely,

S4'td?I~
Sarah Humphreys
Senior Attorney
Office of Civil Rights and Equal Opportunity
Social Security Administration


From: Artis, Sherril
Sent: Friday, May 10, 2013 1:30 PM
To: Colvin, Carolyn
Cc: 'tt_nation@yahoo.com'
Subject: FW: COMMISSIONER'S BROADCAST-- 05/10/13

Ms. Colvin

This is a wonderful statement and I believe that it is practiced most of the time at SSA. I am at the age where I
could retire; therefore, I am not that interested in putting up a fight for myself. I have experienced some of
the things that you mentioned that should not be tolerated. They should not be tolerated but many times the
victim has to count their blessings and move on. Fear, intimidation, favoritism, exclusion, and plain old I have
the power and you don't can be the norm for some of us. When one is going through the horror, it is so
belittlin°g, embarrassing, and lonely.

Even the EEO complaint system is flawed. The EEO representatives push for the case to be dropped and
demand a signed statement stating that you were not coerced into dropping the case. I am grateful that I was
not discriminated against earlier in my career because I have had a very rewarding experience. Discrimination
is alive and well at the Social Security Administration. Maybe a hotline where unfairness, exclusion, and
harassment can be reported would help. From my experience, it is more important that the agency wins the
case and blame the victim than to correct the problem. I have been enlightened to know that they see not
what they do.

I appreciate the fact that getting this information out to the field offices is important to the Administration. If
it changes the behavior of just one person, it is worth the effort.

Sherril Artis TIE 923

When you know better, you do better... Maya Angelou


From: ACor:nmissioner Broadcast
                                                         4
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  0Toe                                                       INTERNAL MEDICINE
 Vancouver                                                    2525 NE 139th Street
   Clinic                                                     Vancouver WA 98686
                                                              Phone: 360-882-2778
    360-882-2778
     www.tvc.org



March 10, 2011

Patient:       SHERRIL A ARTIS
Date of Birth: 5/6/1958
Date of Visit: 3/10/2011


To Whom It May Concern:

It is my medical opinion that Sherril Artis would medically benefit from job transfer to
Vancouver area closer to home to reduce necessity to drive in higher traffic, stressful
road conditions based on findings following ophthalmology evaluation 2/4/11 at
OHSU with cataracts and diabetes effect on eyes that make night, rain condition
driving more difficult. Surgical intervention is not advised at this time for another 2
years and would be less dangerous, stressful to be in closer driving proximity to
home.

If you have any questions or concerns, please don't hesitate to call. ·

Sincerely,




                        The Vancouver Clinic will be the best in the Northwest for patient-focused, quality-proven care.

87th Avenue                         Battle Ground                            Columbia Tech Center                     Salmon Creek
700 NE 87tt1 Avenue                 2005 W Main Street                      501 SE 172nd Avenue                       2525 NE 139th Street
Vancouver, WA 98664                 Battle Ground, WA 98604                 Vancouver, WA 98684                       Vancouver, WA 98686
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To:             Steve Jollensten, Hardship Coordinator

 From:          Sherril Artis

 Date:          March 16, 2011



  This is my request for a medical hardship transfer to the Vancouver, Washington field office. I
  have been challenged with vision problems since 2006. The initial problem that I experienced
  with my vision was due to uncontrolled blood sugars. After I gained some control over my
  blood sugars, my vision did improve. In 2009, I noticed that I was again struggling with my
  vision. This time the eyelids were swollen and my eyes were painful. I s~itched from an
  optometrist to an ophthalmologist. In January 2010, I was diagnosed with cataracts and
  diabetic issues in my right eye. I explained to the doctor the problems that I was having with
  my eyesight when the weather conditions were dark and rainy. I was scheduled a follow-up
  appointment for the fall of 2010. When I went back to the eye doctor in the fall of 2010, my
  vision had gotten progressively worse. In August 2010, the Oregon police stopped me because I
  was not "holding my lane". I had also been in two near car accidents and barely missed hitting
· a pedestrian. In February 2011, I went to Casey Eye Institute and saw Dr. Lorinna Lombardi.
  Dr. Lombardi informed me that I have cataracts in both eyes and diabetic issues in both eyes.
  This diagnosis explained the glare and blinding conditions that I was experienced while facing
  the headlights of oncoming cars. This is a troublesome condition that occurs when I am driving
  across the Glen Jackson Bridge to and from work.

 I currently reside in Vancouver. If I am allowed to work in the Vancouver office, this will
 remove my need to maneuver the Portland traffic and rainy weather conditions. My spouse
 works in Vancouver and he would be able to drop me off and pick me up from work when
 necessary. This situation is dangerous for me and for other drivers. I appreciate any
 consideration that I receive on this request.
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Artis, Sherril
From:                     Artis, Sherril
Sent:                     Thursday, June 16, 2011 10:48 AM
To:                       Jollensten, Steve
Cc:                       Temple, Terry
Subject:                  Hardship Request


Steve,

On 03/15/2011, I submitted a hardship request, where I revealed the problems that I am experiencing
with my vision. To date, I have not received a response to this request If I cannot be accommodated with
a hardship, it is important that I make my doctor aware of this decision. The doctor is delaying eye
surgery because my right eye has not gotten to the point where my medical insurance will pay for the
surgery. My left eye does qualify for immediate surgery. Because of diabetic eye complications along
with the cataracts, the doctor was reluctant to proceed with surgery on the left eye. The doctor also felt
that my vision could be corrected with glasses to 20/20 between the cataracts. I still have vision issues
caused by glare from light/headlights and with rain/darkness. If I cannot be accommodated with a
hardship transfer, I have no choice but to insist on this surgery being performed before the two years
recommended by the doctor. I can possibly get my medical insurance to pay for surgery to right eye with
a letter denying the hardship. According to my endocrinologist, I am not at a point where she considers
me to be disabled; therefore, applying for disability is not an option.

I believe that I have been patience and given ample amount of time for this decision to be made. The
office where I am currently working is iri the process of moving further away from my residence and the
drive 1s going to be even more dangerous. I am preparing for a negative outcome to my request by
seeking eye surgery and checking into public transportation. I submitted a request for reasonable
accommodations and I am not sure if that interfered with the processing of the hardship request. If so,
please let me know.

I would appreciate any consideration that I could receive on either an approval or a denial on this
request. I need to prepare for the upcoming period ofrain and darkness. It is challenging for me to see
during the fall and winter months. The sunshine is also problematic for seeing through the cataracts.

Sherril Artis TE/940
2625 SE 98th Ave
Portland OR 97266
(866) 964-1003 ext 18335
(503) 761-4855 fax
Click here for available online services.




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           SOCIAL SECURITY ADMINISTRATION                                                              Seattle Region




                                                                                            Date: July 11, 2011




Dear Ms. Artis:

This letter concerns your request for a hardship transfer from your current duty station at the
Portland East Field Office, where you are a GS-12 Technical Expert, to the Vancouver Field
Office, which is closer to your home.

You stated that you have been challenged by vision problems since 2006, which are related in
part to your diabetes. You also stated cataracts have resulted in even more vision problems
beginning in January 2010. You described problems involving glare and low light situations,
which made it dangerous for you to drive.

Because you based the request for a hardship transfer on a medical reason, we treated it as a
request for reasonable accommodation 1 and asked for supporting medical documentation. You
provided this medical documentation on April 26, 2011. Jens Metzger, M.D., an internal
medicine specialist, opined that you needed a transfer to the Vancouver an~a to reduce your
need to drive in higher stress road conditions. Dr. Metzger based this opinion upon an
evaluation performed by Lorinna Lombardi, M.D., an ophthalmologist from Oregon Health
Sciences University, who found you had visual deficits due to cataracts and diabetes that made
driving at night and in rain conditions more difficult.

I accept your doctors' opinions that a transfer to an office closer to your residence would be less
stressful and less dangerous. I am therefore approving your reassignment to a vacant technical
expert position in the Vancouver Field Office. This reassignment will take effect on the pay
period beginning July 17, 2011

If you have any questions regarding this matter, please see your supervisor.

                                                       Sincerely,


                                                       Beth Hidano
                                                       Area Director II




1
  Pursuant to the Rehabilitation Act, the Agency provides reasonable accommodation to qualified individuals with
disabilities unless the accommodation would impose an undue hardship on the Agency. An "individual with a
disability'' is someone who has a physical or mental impairment that substantially limits one or more of the major
life activities. A "qualified individual with a disability'' is someone who can perform the essential functions of his
position, with or without reasonable accommodation.
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Emails to then Area Director, Beth
Hiciano, on the horrors that the staff was
experiencing as a result of the hostile
work environment during my first period
of discriminations. The agency refused to
give me a compassionate detail to care
for my dying mother. It took a year
before I could go to her. This office
forced me to exhaust all my leave flying
to Arkansas to care for her. They stood in
the way of every promotion that I tried
for. But EEO forced my withdrawal so
that these two could be promoted.


Email to Beth Hiciano 09/28/2012
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Artis, Sherril
From:                   Sherril Artis <tt_nation@yahoo.com>
Sent:                   Friday, September 28, 2012 6: 11 AM
To:                     Artis, Sherril; Artis, Sherril
Subject:                Beth


  Beth,

Congratulations on your retirement. I want to express to you my gratitude for your help in getting me
transferred to the Vancouver office. Everyone is treated fairly here and management listens and
responds to each individual. This is the work enviroment to which I had been accustomed. Portland
East was a terrible place to work and I was embarrassed to see management behaving so badly. I
am only speaking of this now because I would like for you know the horrors that many of us felt
working in that office. I will spare you the details but targeting, discriminating and unfairness created
a hostile work enviroment for many non-white women. I have always been Black and female, but not
always old. I had been discriminated against albeit it had been long before Portland Eastand. It is
a lonely place. One might not know how she got there but only she can find the road out. My
children have been taught that when they have gotten an education, pulled their pants up,
tightened their belts, spoken softly, sought first to understand, changed their hair/attire, and the same
problems exist--then that problem is something they cannot change. It is called
discrimination!!     I am normally a pretty good judge of character but I was utterly shocked at what
Terry Temple allowed to happen to non-white women in that office. Terry is a very fearful
person. he will neither stand up to or for an individual. When I repeatedly told him that I was feeling
very uncomfortable about Karen's erratic and hateful comments toward me, he ignored me and
eventually treated me as the troublemaker. His comment was that Karen did not hate anyone. Terry
was dishonest about my request to detail to Arkansas to care for my mother. I made the verbal
request to Terry in January 2009. He never gave me any directions on what I should do. I was
pretty naive and trusted that he would assist me. He didn'tll He blamed the slow process on the
Regional Office. Through my EEO complaint, I discovered that he did not ask about a transfer for me
until I was already in Arkansas. I called him to see which office I should report to and he tap danced
around the issue. After the call to him on 02/17/2009, he refused to take any more calls from
me. When I returned to the office, I was harrassed by Karen and Jesse daily. Karen told me that
this organization did not owe me anything. The hatred and venom in her eyes let me know that is .
what she meant. Several days each week, Karen smelled of alcohol. Terry was made aware of
 Karen's drinking but it continued. Workloads were removed and added to me without their letting me
know that I was or was no longer responsible for that workload. I found out by getting security
violations, a member of the public telling me that they had been told that I was handling a certain             \
workload, or when something failed to be done, I was then told that it had been my responsibility. It
was a nightmarell Jesse would come to my desk and slap a clipboard in his hand while i was                  /
 interviewing by phone. I could not believe that Terry was allowing these things to happen in this
 office. A year after my initial request, I put in to permanently transfer to Arkansas to care for my
 mother. This time, I knew the process and I was not going to trust Terry. I was granted a detail and
went to Arkansas on 03/09/2010. My mother died on 04/16/2010. I am grateful for the month that I
 had with her.

This is just my story and this is the water down version. I have received help from EAP and it is one
of the programs that does help. The EEO process is an absolute joke. No one wants to deal with
discrimination. Place the blame on the victims and management gets away so that they can do it
again. I put in for other jobs and I was given a less than favorable review by jesse. Of course, I did

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not get any of these positions. This was after I had served on the Martinez Cadre and had gotten
rave reviews from Fair Tegner. It was also after I had filed the first EEO complaint. It was
retaliationll Your lovely EEO staff, in Seattle, badgered me to drop the the retaliation complaint since
I had been transferred to Vancouver. I felt pressured to drop the retaliation complaint. Of course
when I hired an attorney, he said this was the complaint that I should have pursued since it would
have been easier to prove. Other women that were treated unfairly were Franchesca Ariaza, Yen
Truong and Angie Baker.




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I repeatedly told EEO that I did not w~nt to withdraw my EEO
complaint. I tried in every way possible to get th~m to stop asking. EEO
was awijre that I was applying for jobs to help me to attain my high 3
years for retiremer1t calculations. After I was transferred to Vancouver,
the harassment by EEO for me to withdraw my request became more
intense. I finally gave in. My employee profile of emails and instant
messages during this time will prove their continued harassment. I
believe her name was Melissa Bates.

Shortly after t withdrew, Terry Temple and Karen Jes~er were
immediately promoted. EEO should not be able to strong arm
discriminated employees into withdrawing.

The Commissioner's office was not interested in either my
maltreatment, the fact that EEO was harassing employees into
withdrawing, or that disabled empl6yees were not being
accommodated timely-nor were the employees being informed on the
status of there accommodation request.
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               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Seattle Field Office


•                                                                                       Federal Office Building
                                                                                    909 First Avenue, Suite 400
                                                                                       Seattle, WA 98104-1061
                                                                            Seattle Direct Dial: (206) 220-6885
                                                                                           TIY (206) 220-6882
                                                                                           FAX (206) 220-6911


The Complainant may elect to withdraw his request for a hearing and further litigation by
completing one or both of the forms below and mailing them to the EEOC office in the
enclosed postage paid envelope.




I , - - - - - - - - - - - - ~ do·hereb
 Complainant's Name (please print)

Equal Employment Opportunity complai , EEOC Hearing No. _ _ _ _ _ _ _ ____,

Agency Case No. - - - - - - + - - - · I understand that by withdrawing my complaint I waive

my rights to a hearing, to a fi   agency decision, or to further appeal, and that this complaint is

now closed.
          Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 80 of 90




                     WITHDRAWAL OF REQUEST FOR HEARING


I , - - - - - - - - - - - - ~ do hereby voluntarily withdraw              request
  Complainant's Name (please print)

for a hearing in my formal Equal Employment Oppo

                                           - - - - - - - -. I understand that I will
receive a Final Agency Decision·b ed on-the present record and.will be informed of my appeal·.

rights.




                                                   Date
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Social Security failed to respond to request from my private disability
insurance company. The request was sent dire<:tly to Chris Detzler. To
pay me the disability, they wanted to speak with my employer about
how my health affected my work. Chris failed to respond. The
insurance company threatened to dismiss my claim and pay nothing.
The fact that I received a retirement and not a disability check, made
them doubt my disability. I contacted Senator Patty Murray.of
Washington state. She was instrumental in my receiving a lump sum of
$4SK. The amount I could have received in total benefits was $61000K,
I lost $16K due to the Social Security Administrations refusal to
respond.
                  JteK  Lvs5
                   '3 K Lbs~ mo ✓,· 'b Sl-\ ~Q,rw ½
Proof that Senator Patty Murray assisted me
                   Case 4:21-cv-01090-BSM Document 1 Filed 11/15/21 Page 82 of 90
        --•




        J-.
       ~r CHI St. Vincent
SVI St Vincent Infirmary Medical Center
#2 St. Vincent Circle
Little Rock, AR 72205
(501) 552-3000

                                                                                         DOB: 05/06/1958
 ARTIS, SHERRIL ANN                                                                      MRN: 1202037
                                                                                         Visit Date: 04/19/2021




  Your Visit Summary

Your Care Team
 Primary Provider:
 DELCASTILLO-HEGYI, CHRISTI


 Your Diagnosis
 Depression, Depression
 Depression


 Patient Portal
  Reminder: Be sure to sign up for the MyOnecare patient portal. The patient portal gives you access to your medical
  information, including these discharge instructions, using your computer, smartphone or tablet. When you provide your email
  address at registration, you will receive an invitation to our patient portal. This invitation will not expire, allowing you to
· activate your account at any time. Question? 1-888-670-9775

 You may also obtain a copy of your Emergency Department visit from Medical Records by calling the hospital phone number
 listed above and asking to be directed to the Medical Records Department..

 If you had special tests, such as EKG's or X-rays, the interpretation of your tests given to you by the Emergency Department
 Physician is a preliminary report. Some fractures and illnesses fail to show up on preliminary tests. These will be reviewed
 again and we will call you if there are any new suggestions. If.your symptoms continue notify your physician. After you leave,
 you should follow the instructions provided.




Patient: ARTIS, SHERRIL ANN MRN: 1202037 FIN: A2110900293                                                                  Page 1 of11
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  What to do next

Follow-Up Appointments
 Follow Up with Follow up with   Comments call for follow up appointment
 primary care provider
 When Within 1 to 2 weeks




  Allergies
HYDROcodone
Lexapr~_r
metFORMIN
statins   '




  Immunizations This Visit
No Immunizations Found




Patient: ARTIS, SHERRIL ANN MRN: 1202037 FIN: A2110900293                        Page 2 of11
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  Education Materials

                                     Major Depressive Disorder, Adult
Major depressive disorder (MDD) is a mental health condition. It may also be called dinlcal depression or unipolar depression. MDD
usually causes feelings of sadness, hopelessness, or helplessness. MDD can also cause physical symptoms. It can interfere with
work, school, relationships, and other everyday activities. MDD may be mild, moderate, or severe. It may occur once (single
episode major depressive disorder) or it may occur multiple times (recurrent major depressive disorder).

What are the causes?
The exact cause of this condition is not known. MDD Is most likely caused by a combination of things, which may include:

    •    Genetic factors. These are traits that are passed along from parent to child.
    •    Individual factors. Your personality, your be~avlor, and the way you handle your thoughts and feelings may contribute to
         MDD. This indudes personality traits and behaviors learned from others.
    •    Physical factors, such as:
                   Differences in the part of your brain that controls emotion. This part of your brain may be different than it is in
             people who do not have MDD.
                   long-term (chronic) medical or psychiatric illnesses.
    •    Social factors. Traumatic experiences or major life changes may play a role in the development of MDD.

 What increases the risk?
This condition is more likely to develop in women. The following factors may also make you more likely to develop MDD:

    •    A family history of depression.
    •    Troubled family relationships.
    •    Abnormally low levels of certain brain chemicals.
    •    Traumatic events in childhood, especially abuse or the loss of a parent.
    •    Being under a lot of stress, or long-term stress, especially from upsetting life experiences or losses.
    •    A history of:
                   Chronic physical illness.
                   other mental health disorders.
                   Substance abuse.
    •    Poor living conditions.


Patient: ARTIS, SHERRIL ANN MRN: 1202037 FIN: A2110900293                                                                 Page 5 of11
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     _r




   Medications
                                         What                          How        When               Instructions                Next
                                                                       Much                                                      Dose
  New                 venlafaxine (Effexor XR 37.5 mg oral           1 cap       Every      Duration: 7 Day(s)
                      capsule, extended releaset                     Oral        Day        After 7 days of 37.5 mg, take
                                                                                            75 mg daily.



                                                                                            Printed Prescription

  New                 venlafaxine (Effexor XR 75 mg oral             1 cap       Every      start taking 4/ 26/ 2021
                      capsule, extended release)                     Oral        Day


                                                                                            Printed Prescription



 The home medications listed are only as accurate as the information you provided. Please continue taking all of
 your medications prescribed by your Primary Care Provider unless specifically told to change or discontinue the
 medication. Please direct any questions regarding your home medications to your Primary Care Provider.

 Take your medications faithfully. Do NOT skip medication. Do NOT stop taking medications without the direction of a physician.
 Carry a list of your medications with you at all times, and take this medication list with you to your first follow up visit. Report any
 side effects. Avoid herbal remedies unless discussed with your physician.

· As part of your treatment plan, your physician may have prescribed a limited course of a controlled substance. This medication
 may be given to help people with moderate or severe pain or for other medical conditions, but there are risks involved with
 treatment. Common side effects may include nausea, constipation, drowsiness, sweating, itching, dry mouth, and rash. More
 serious side effects may include cognitive and motor impairment, like problems with thinking, concentrating, alertness, and
 movement (e.g. slowed reflexes), and driving and operating heavy machinery can be dangerous. It is important for you to talk to
 your physician if you have these side effects or questions. These controlled substances can produce physical dependence and be
 habit-forming if taken for an extended period of time, which means that the body has gotten used to them and may experience
 withdrawal symptoms if they are abruptly stopped. Withdrawal symptoms can include runny nose, sweating, goose bumps,
 diarrhea, abdominal cramping, rapid heartbeat, difficulty sleeping, and nervousness. Please dispose of unused and expired
 medications per pharmacy guidance.




Patient: ARTIS, SHERRIL ANN MRN: 1202037 FIN: A2110900293                                                                     Page 3 of11
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,,PATTY MURRAY                                                                                                                           COMMITTEES:
   WP..SHINGTON                                                                                                                         APPROPRIATIONS

                                                                                                                                            BUDGET
                                                                                                                                   HEALTH, EDUCATION, LABOR,


                                                   tinitrd ~tatrs ~matr                                                                 AND PENSIONS

                                                                                                                                      VETERANS' AFFAIRS

                                                              WASHINGTON, DC 20510-4704


                                                                   March 9, 2016


            Mrs. Sherril Artis
            1309 SE Park Crest Ave
            Vancouver, Washington 98683

            Dear Mrs. Artis:

            Thank you for contacting my office regarding the difficulties you have been experiencing. I
            would be happy to assist in any way that I can.

            I have placed an inquiry on your behalf to Jackson National Life Insurance Company. Once a
            decision has been determined you will receive a response from the Jackson National Life
            Insurance Company.

              Please feel free to reach out to my Seattle office regarding any future issues with a Federal
             Government Agency. You can reach my Seattle office by phone at 206-553-5545 or by fax at
             206-553-0891.

                                                              Sincerely,


                                                              ?"a
                                                              Patty Murray
                                                              United States Senator

             PM\m.a




154 RUSSELL SENATE OFFICE BUILDING   2930 WETMORE AVENUE              2988 JACKSON FEDERAL BUILDING      10 NORTH POST STREET          950 PACIFIC AVENUE
WASHINGTON, DC 20510-4704            SUITE 903                        915 2ND AVENUE                     SUITE 600                     SUITE 650
(202) 224-2621                       EVERETT, WA 98201-4107           SEATTLE, WA 98174-1003             SPOKANE, WA 99201--0712       TACOMA, WA 98402-4450
                                     (425) 259-6515                   (206) 553-5545                     (509) 624-9515                (253) 572-3636
                                                                      TOLL FREE: (866) 481-9186

THE MARSHALL House                                                                                                                     402 EAsT YAKIMA AVENUE
1323 OFFICER'S Row                                                website: hUp://murray.senate.gov
                                                                                                                                       SUITE 420
                                                                e-mail: http://murray.sanate.gov/email
VANCOUVER, WA 98661-3856                                                                                                               YAKIMA, WA 98901-2760
(360) 696-7797                                                     PRINTED ON RECYCLED PAPER                                           (509) 453-7462
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    Disability Management Services, Inc.
   A Third Party Administrator for:              .
   Jackson National Life Insurance Company
    1350 Main Street, Springfield, MA 01103-1641
    Tel: (413) 747-0990 or {800) 883-0596 Fax: {413} 747-1545


September 23, 2015


Sherril Artis
2200 Romine Rd
Little Rock, AZ 72204


Re: PolicyNumber: MBH416398
    Claim Number:  10062410

Dear Ms. Artis:

Thank you for speaking with me today with regard to the status of your claim under your
Jackson National Life Insurance Company disability income policy.

As we discussed, we are in receipt of all completed claim forms. Medical records have been
obtained from Vancouver Clinic for review. You have provided the name of a contact person to
follow up on our request for employment information. Please keep us informed of any change of
address and additional treatment.

I may be contacted at (800) 883-0596, ext. 1068 with any questions regarding your claim.

Sincerely,


 _J~.. J~A,
Sandra Himmelwright
Claim Consultant




                    dlbla: New England Claims Administration Services, Inc. In FL, MD, ME, TX
                       Licensed as New England Claims Administration Services, Inc. In CA
                               d/b/a: Centre Claims Administration Services In NH
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            .
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                    Disability Management Services, Inc.
                   A Third Party Administrator for:
                   Jackson National Life Insurance Company
                                                                                           JACKSON.
                                                                                             NATIONAL UH INSURANCE COMPANY
                   1350 Main Street, Springfield, MA 01103-1641
                   Tel: (413} 747-0990 or (800} 883-0596 Fax: (413) 747-1545


                February 26, 2016


                Sherril Artis
                1309 SE Park Crest Avenue
                Vancouver, WA 98683


                Re: Policy Number: MBH416398
                    Claim Number:   10062410

                Dear Ms. Artis:

                Thank you for speaking with me today with regard to your claim under your Jackson National
                Life Insurance Company disability income policy.

                As discussed, enclosed is a Release Agreement. Please review, sign and date this document,
                having your signature witnessed and return the original to our office along with your policy.
                Upon receipt, we will immediately issue a check in the amount of $45,000.

                You may contact my associate, Cassandra Schutt, at 800-883-0596, Ext. 1027, with any
                questions in this regard.

                Sincerely,


                 _J~..J'jjl:,
                Sandra Himmelwright
                Claim Consultant

                Enclosure




                                    dlbla: New England Claims Administration Services, Inc. In FL, MD, ME, TX
                                       Licensed as New England Claims Administration Services, Inc. In CA
                                               dlb/a: Centre Claims Administration Services In NH
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                                                                                                 Fax Cover Sheet_,.~--
                                                                                                                                   ~
                                                                                                                                   ~"
                                                                                                   Number of pages -¥--(including cover page)



To:                                               ii                                               From:            J         A
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Telephone______                                                                                    Telephone _ _ _ _ __

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    Sandra,




    I am writing to provide you with additional documentation provided by Dr. Jens Metzger. I am not sure
    if this will influence the final decision that you would like to make on my claim for benefits. I feel
    violated with having to decide between a lump sum and monthly benefits. Being disabled makes me
    income challenged. When I paid my premiums for the last 25 to 30 years for this insurance, I believed
    that I was insuring myself for this day. The insurance company has taken my money and they are using
    it to their advantage. I paid premiums from 1988 to the present day. That is 27 years at about $400 per
    year. If you just multiply the premiums I have paid in excess of $10000 in premiums alone. If I was to be
    back paid for the past 10 months that I have been waiting, you are looking at $8800.00 that would have
    been due me. I am $18800 in the hole and I am offered $30000. So my insurance of 27 years will net
    me $11000. I might have been better off investing the $400 per year in the stock market. I need
    income and not the lump sum resource. I see now that my paying insurance was not for my benefit but
    for the benefit of the insurance company. Even a lump sum of the full $61000 would not be the answer
    that I am seeking. I need monthly benefits more than a lump sum! I

    I could take the $30000, that is being offered, and set it up with an annuity but I will have to pay for that
    service and the monthly amount will be a lot less than $884.00 per month. I could take the $30000 and
    go back to school in order to better myself for future employment, but I am just too sick to go to school
    and retain the information. I have been sick since 2012 and it has not gotten any better. The only thing
    that has improved is my outlook on my illness. There is not enough medical information or research
    being done on sarcoidosis. It is a pretty complicated disease. Add diabetes that is worse due to the
    sarcoidosis treatment. Not always being able to breath, walking being painful, body aches and pain. I
    am sick and unable to work. Is this not what this insurance is for? I would feel more validated if you
    offered my premiums back with 27 years of interest.

    It seems that my insurance is almost on the same mission as my last employer. Yef. I wanted to work
    until 02/2016 but I had no guarantee that I would have been able to make it or to work on until I was 62
    years old. I always carried health insurance under my spouse. When I found out in 2010 that I had to
    have my own insurance for 5 years prior to retirem~nt before I would be able to take my insurance into
    retirement, I enrolled in the insurance ASAP. One year later I was sick. Can you imagine how many
    times over the last 5 years that I have wished to have had that insurance earlier? I am surprised that I
    made it to 2015. I am a strong person. I can take a lot of pain and deal with a lot of heartache. That is
    over now? I no longer have to, need to, or want to deal with pain inflicted on me by others.

    If I have to take a lump sum, I am not willing to take any less than $45000.00. The ideal situation for me
    would be to receive monthly payments. Being disabled makes me income challenged. I paid for this
    insurance so that I could have a monthly payment, in the case of disability. The third option would be to
    drop this current claim until I have proven that I am disabled and qualify and deserve the monthly
    payments.
